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  Pending MDL Cases Party Query
ase 2:2007-md-01873-KDE-ALC , as of Thu Oct 4 16:38:41 2012
 2:2006-cv-02576-KDE-ALC                               Gulf Stream Coach, Inc.,
 2:2006-cv-02576-KDE-ALC                               Pilgrim International, Inc.,
 2:2006-cv-02576-KDE-ALC                               Starcraft RV, Inc.,
 2:2007-cv-03893-KDE-ALC                               Gulf Stream Coach, Inc.,
 2:2007-cv-03893-KDE-ALC                               Pilgrim International, Inc.,
 2:2007-cv-04012-KDE-ALC                               Gulf Stream Coach, Inc.,
 2:2007-cv-05709-KDE-ALC                               Burlington Insurance Company,
 2:2007-cv-05709-KDE-ALC                               Crum & Forster Specialty Insurance Company,
 2:2007-cv-05709-KDE-ALC                               Keystone RV Company, Inc.,
 2:2007-cv-05709-KDE-ALC                               Sentry Insurance a Mutual Company,
 2:2007-cv-05709-KDE-ALC                               Starcraft RV, Inc.,
 2:2007-cv-07263-KDE-ALC                               Forest River, Inc.,
 2:2007-cv-07494-KDE-ALC                               Gulf Stream Coach, Inc.,
 2:2007-cv-09228-KDE-ALC                               Keystone RV Company,
 2:2007-cv-09248-KDE-ALC                               Gulf Stream Coach, Inc.,
 2:2008-cv-01094-KDE-ALC                               Axis Specialty Insurance Company,
 2:2008-cv-01094-KDE-ALC                               Lexington Insurance Company,
 2:2008-cv-01094-KDE-ALC                               Steadfast Insurance Company,
 2:2008-cv-01094-KDE-ALC                               Westchester Surplus Lines Inc.,
 2:2008-cv-01327-KDE-ALC                               Arch Specialty Insurance Company,
 2:2008-cv-01327-KDE-ALC                               Lexington Insurance Company,
 2:2008-cv-01327-KDE-ALC                               Liberty Insurance Corporation,
 2:2008-cv-01327-KDE-ALC                               Westchester Surplus Lines Insurance Company,
 2:2009-cv-02887-KDE-ALC                               Keystone RV Company,
 2:2009-cv-02888-KDE-ALC                               Gulf Stream Coach, Inc.,
 2:2009-cv-02889-KDE-ALC                               Gulf Stream Coach, Inc.,
 2:2009-cv-02890-KDE-ALC                               Forest River, Inc.,
 2:2009-cv-02892-KDE-ALC                               Gulf Stream Coach, Inc.,
 2:2009-cv-02908-KDE-ALC                               Gulf Stream Coach, Inc.,
 2:2009-cv-02910-KDE-ALC                               Gulf Stream Coach, Inc.,
 2:2009-cv-02915-KDE-ALC                               Gulf Stream Coach, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 2 of 105


2:2009-cv-02923-KDE-ALC                       Keystone RV Company,
2:2009-cv-02926-KDE-ALC                       Forest River, Inc.,
2:2009-cv-02930-KDE-ALC                       Keystone RV Company,
2:2009-cv-02939-KDE-ALC                       Forest River Industries,
2:2009-cv-02944-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-02950-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-02951-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-02952-KDE-ALC                       Forest River, Inc.,
2:2009-cv-02953-KDE-ALC                       Forest River, Inc.,
2:2009-cv-02954-KDE-ALC                       Keystone RV Company,
2:2009-cv-02955-KDE-ALC                       Keystone RV Company,
2:2009-cv-02960-KDE-ALC                       Forest River, Inc.,
2:2009-cv-02961-KDE-ALC                       Forest River, Inc.,
2:2009-cv-02962-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-02963-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-02964-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-02965-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-02966-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-02969-KDE-ALC                       Forest River, Inc.,
2:2009-cv-02971-KDE-ALC                       Forest River, Inc.,
2:2009-cv-02973-KDE-ALC                       Gulfstream Coach Incorporated,
2:2009-cv-02974-KDE-ALC                       Gulfstream Coach Incorporated,
2:2009-cv-02975-KDE-ALC                       Gulfstream Coach Incorporated,
2:2009-cv-03205-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03249-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03250-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03251-KDE-ALC                       Recreation By Design, LLC,
2:2009-cv-03252-KDE-ALC                       Dutchmen Manufacturing, Inc,
2:2009-cv-03253-KDE-ALC                       Monaco Coach Corporation,
2:2009-cv-03254-KDE-ALC                       Coachmen Recreational Vehicle Company of Georgia,
2:2009-cv-03255-KDE-ALC                       Forest River, Inc.,
2:2009-cv-03304-KDE-ALC                       Thor California, Inc.,
2:2009-cv-03305-KDE-ALC                       Forest River, Inc.,
2:2009-cv-03306-KDE-ALC                       DS Corp.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 3 of 105


2:2009-cv-03307-KDE-ALC                       Liberty Insurance Corporation,
2:2009-cv-03307-KDE-ALC                       R-Vision, Inc.,
2:2009-cv-03315-KDE-ALC                       Recreation By Design, LLC,
2:2009-cv-03480-KDE-ALC                       Forest River, Inc.,
2:2009-cv-03481-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03482-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03503-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03557-KDE-ALC                       Forest River, Inc.,
2:2009-cv-03558-KDE-ALC                       Layton Homes Corp.,
2:2009-cv-03559-KDE-ALC                       Sunray RV, LLC,
2:2009-cv-03590-KDE-ALC                       Dutchmen Manufacturing, Inc.,
2:2009-cv-03603-KDE-ALC                       Jayco, Inc.,
2:2009-cv-03604-KDE-ALC                       FRH, Inc.,
2:2009-cv-03615-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03616-KDE-ALC                       Jayco Enterprises, Inc.,
2:2009-cv-03620-KDE-ALC                       Keystone RV Company,
2:2009-cv-03622-KDE-ALC                       Forest River Inc,
2:2009-cv-03630-KDE-ALC                       Coachmen Industries, Inc.,
2:2009-cv-03677-KDE-ALC                       Recreation By Design, LLC,
2:2009-cv-03701-KDE-ALC                       Jayco, Inc.,
2:2009-cv-03720-KDE-ALC                       TL Industries, Inc.,
2:2009-cv-03731-KDE-ALC                       Keystone RV Company,
2:2009-cv-03733-KDE-ALC                       Recreation By Design L L C,
2:2009-cv-03742-KDE-ALC                       Thor California, Inc.,
2:2009-cv-03745-KDE-ALC                       Frontier RV, Inc.,
2:2009-cv-03764-KDE-ALC                       Dutchmen Manufacturing, Inc,
2:2009-cv-03764-KDE-ALC                       Thor Industries, Inc.,
2:2009-cv-03808-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03832-KDE-ALC                       Dutchmen Manufacturing, Inc,
2:2009-cv-03867-KDE-ALC                       Burlington Insurance Company,
2:2009-cv-03867-KDE-ALC                       Crum & Forster Specialty Insurance Company,
2:2009-cv-03867-KDE-ALC                       Sentry Insurance a Mutual Company,
2:2009-cv-03868-KDE-ALC                       Burlington Insurance Company,
2:2009-cv-03868-KDE-ALC                       Crum & Forster Specialty Insurance Company,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 4 of 105


2:2009-cv-03868-KDE-ALC                       Sentry Insurance a Mutual Company,
2:2009-cv-03871-KDE-ALC                       Keystone Industries, Inc.,
2:2009-cv-03871-KDE-ALC                       Keystone RV Company,
2:2009-cv-03874-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03876-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03877-KDE-ALC                       Recreation By Design, LLC,
2:2009-cv-03878-KDE-ALC                       Coachmen Industries, Inc.,
2:2009-cv-03878-KDE-ALC                       Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-03879-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03882-KDE-ALC                       Crossroads RV, Inc.,
2:2009-cv-03885-KDE-ALC                       KZRV LP,
2:2009-cv-03886-KDE-ALC                       Keystone Industries, Inc.,
2:2009-cv-03886-KDE-ALC                       Keystone RV Company,
2:2009-cv-03887-KDE-ALC                       Keystone Industries, Inc.,
2:2009-cv-03887-KDE-ALC                       Keystone RV Company,
2:2009-cv-03888-KDE-ALC                       Keystone Industries, Inc.,
2:2009-cv-03888-KDE-ALC                       Keystone RV Company,
2:2009-cv-03890-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03891-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03892-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03893-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03894-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03895-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03896-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03897-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03898-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03899-KDE-ALC                       Forest River, Inc.,
2:2009-cv-03901-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03902-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03903-KDE-ALC                       Heartland Recreational Vehicles, LLC,
2:2009-cv-03905-KDE-ALC                       Starcraft RV, Inc.,
2:2009-cv-03906-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03907-KDE-ALC                       Keystone Industries, Inc.,
2:2009-cv-03907-KDE-ALC                       Keystone RV Company,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 5 of 105


2:2009-cv-03908-KDE-ALC                       Jayco, Inc.,
2:2009-cv-03910-KDE-ALC                       Jayco, Inc.,
2:2009-cv-03911-KDE-ALC                       Jayco, Inc.,
2:2009-cv-03912-KDE-ALC                       Hy-Line Enterprises, Inc.,
2:2009-cv-03913-KDE-ALC                       Hy-Line Enterprises, Inc.,
2:2009-cv-03914-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03915-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03917-KDE-ALC                       Jayco, Inc.,
2:2009-cv-03918-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03922-KDE-ALC                       Arch Specialty Insurance Company,
2:2009-cv-03922-KDE-ALC                       Lexington Insurance Company,
2:2009-cv-03922-KDE-ALC                       Liberty Mutual Insurance Corporation,
2:2009-cv-03922-KDE-ALC                       Westchester Surplus Lines Insurance Company,
2:2009-cv-03941-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03942-KDE-ALC                       Jayco, Inc.,
2:2009-cv-03944-KDE-ALC                       Keystone RV Company,
2:2009-cv-03957-KDE-ALC                       Recreation By Design, LLC,
2:2009-cv-03977-KDE-ALC                       Forest River, Inc.,
2:2009-cv-03979-KDE-ALC                       Timberland RV Company,
2:2009-cv-03980-KDE-ALC                       Timberland RV Company,
2:2009-cv-03981-KDE-ALC                       Timberland RV Company,
2:2009-cv-03982-KDE-ALC                       Recreation By Design, LLC,
2:2009-cv-03983-KDE-ALC                       Liberty Mutual Insurance Corporation,
2:2009-cv-03984-KDE-ALC                       Liberty Mutual Insurance Corporation,
2:2009-cv-03985-KDE-ALC                       Burlington Insurance Company,
2:2009-cv-03985-KDE-ALC                       Crum & Forster Specialty Insurance Company,
2:2009-cv-03985-KDE-ALC                       Sentry Insurance a Mutual Company,
2:2009-cv-03987-KDE-ALC                       TL Industries, Inc.,
2:2009-cv-03988-KDE-ALC                       Starcraft RV, Inc.,
2:2009-cv-03989-KDE-ALC                       TL Industries, Inc.,
2:2009-cv-03990-KDE-ALC                       Thor California, Inc.,
2:2009-cv-03991-KDE-ALC                       Thor California, Inc.,
2:2009-cv-03998-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-03999-KDE-ALC                       Recreation By Design, LLC,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 6 of 105


2:2009-cv-04000-KDE-ALC                       Forest River, Inc.,
2:2009-cv-04001-KDE-ALC                       Forest River, Inc.,
2:2009-cv-04002-KDE-ALC                       Recreation By Design, LLC,
2:2009-cv-04003-KDE-ALC                       Vanguard Industries of Michigan, Inc.,
2:2009-cv-04004-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-04008-KDE-ALC                       Timberland RV Company,
2:2009-cv-04010-KDE-ALC                       Recreation By Design, LLC,
2:2009-cv-04011-KDE-ALC                       Forest River, Inc.,
2:2009-cv-04012-KDE-ALC                       Frontier RV, Inc.,
2:2009-cv-04013-KDE-ALC                       Frontier RV, Inc.,
2:2009-cv-04017-KDE-ALC                       Vanguard Industries of Michigan, Inc.,
2:2009-cv-04019-KDE-ALC                       Damon Corporation,
2:2009-cv-04019-KDE-ALC                       Thor Industries, Inc.,
2:2009-cv-04021-KDE-ALC                       Timberland RV Company,
                                              American International Specialty Lines Insurance
2:2009-cv-04023-KDE-ALC                       Company,
2:2009-cv-04023-KDE-ALC                       Insurance Company of the State of Pennsylvania,
2:2009-cv-04023-KDE-ALC                       Lexington Insurance Company,
2:2009-cv-04025-KDE-ALC                       Thor California, Inc.,
2:2009-cv-04025-KDE-ALC                       Thor Industries, Inc.,
2:2009-cv-04026-KDE-ALC                       DS Corp.,
2:2009-cv-04027-KDE-ALC                       Timberland RV Company,
2:2009-cv-04028-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-04029-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-04030-KDE-ALC                       Frontier RV, Inc.,
2:2009-cv-04032-KDE-ALC                       DS Corp.,
2:2009-cv-04033-KDE-ALC                       Coachmen Industries, Inc.,
2:2009-cv-04033-KDE-ALC                       Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-04034-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-04035-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-04037-KDE-ALC                       Heartland Recreational Vehicles, LLC,
2:2009-cv-04038-KDE-ALC                       Burlington Insurance Company,
2:2009-cv-04038-KDE-ALC                       Crum & Forster Specialty Insurance Company,
2:2009-cv-04038-KDE-ALC                       Sentry Insurance a Mutual Company,
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2:2009-cv-04039-KDE-ALC                       Liberty Mutual Insurance Corporation,
2:2009-cv-04039-KDE-ALC                       R-Vision, Inc.,
2:2009-cv-04040-KDE-ALC                       Liberty Mutual Insurance Corporation,
2:2009-cv-04042-KDE-ALC                       Keystone RV Company,
2:2009-cv-04043-KDE-ALC                       Keystone RV Company,
2:2009-cv-04044-KDE-ALC                       Forest River, Inc.,
2:2009-cv-04046-KDE-ALC                       Frontier RV, Inc.,
2:2009-cv-04048-KDE-ALC                       TL Industries, Inc.,
2:2009-cv-04050-KDE-ALC                       TL Industries, Inc.,
2:2009-cv-04051-KDE-ALC                       Coachmen Industries, Inc.,
2:2009-cv-04051-KDE-ALC                       Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-04052-KDE-ALC                       Coachmen Industries, Inc.,
2:2009-cv-04052-KDE-ALC                       Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-04053-KDE-ALC                       Coachmen Industries, Inc.,
2:2009-cv-04053-KDE-ALC                       Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-04055-KDE-ALC                       Jayco, Inc.,
2:2009-cv-04056-KDE-ALC                       Jayco, Inc.,
2:2009-cv-04057-KDE-ALC                       Burlington Insurance Company,
2:2009-cv-04057-KDE-ALC                       Crum & Forster Specialty Insurance Company,
2:2009-cv-04057-KDE-ALC                       Sentry Insurance a Mutual Company,
2:2009-cv-04062-KDE-ALC                       Timberland RV Company,
2:2009-cv-04063-KDE-ALC                       Timberland RV Company,
2:2009-cv-04064-KDE-ALC                       Vanguard Industries of Michigan, Inc.,
2:2009-cv-04067-KDE-ALC                       Thor California, Inc.,
2:2009-cv-04067-KDE-ALC                       Thor Industries, Inc.,
2:2009-cv-04068-KDE-ALC                       KZRV LP,
2:2009-cv-04069-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-04070-KDE-ALC                       Frontier RV, Inc.,
2:2009-cv-04071-KDE-ALC                       Forest River, Inc.,
2:2009-cv-04072-KDE-ALC                       Forest River, Inc.,
2:2009-cv-04103-KDE-ALC                       Gulfstream Coach, Inc.,
2:2009-cv-04105-KDE-ALC                       Keystone RV Company,
2:2009-cv-04106-KDE-ALC                       Gulfstream Coach, Inc.,
2:2009-cv-04109-KDE-ALC                       Keystone RV Company,
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2:2009-cv-04132-KDE-ALC                       Thor California, Inc.,
2:2009-cv-04135-KDE-ALC                       Frontier RV, Inc.,
2:2009-cv-04216-KDE-ALC                       Keystone Industries Inc,
2:2009-cv-04216-KDE-ALC                       Keystone RV Company,
2:2009-cv-04217-KDE-ALC                       Jayco Enterprises, Inc.,
2:2009-cv-04218-KDE-ALC                       Sunray RV, LLC,
2:2009-cv-04220-KDE-ALC                       Recreation By Design, LLC,
2:2009-cv-04221-KDE-ALC                       Burlington Insurance Company,
2:2009-cv-04221-KDE-ALC                       Crum & Forster Specialty Insurance Company,
2:2009-cv-04221-KDE-ALC                       Pilgrim International, Inc.,
2:2009-cv-04221-KDE-ALC                       Sentry Insurance a Mutual Company,
2:2009-cv-04222-KDE-ALC                       Thor California Inc,
2:2009-cv-04224-KDE-ALC                       Liberty Insurance Company,
2:2009-cv-04224-KDE-ALC                       R-Vision, Inc.,
2:2009-cv-04227-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-04228-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-04229-KDE-ALC                       American International Specialty Lines,
2:2009-cv-04229-KDE-ALC                       Insurance Company of the State of Pennsylvania,
2:2009-cv-04229-KDE-ALC                       Lexington Insurance Company,
2:2009-cv-04231-KDE-ALC                       Frontier RV, Inc.,
2:2009-cv-04232-KDE-ALC                       Dutchmen Manufacturing, Inc.,
2:2009-cv-04235-KDE-ALC                       DS Corp.,
2:2009-cv-04265-KDE-ALC                       Forest River, Inc.,
2:2009-cv-04326-KDE-ALC                       Coachmen Industries, Inc.,
2:2009-cv-04326-KDE-ALC                       Coachmen Recreational Vehicle Company,

2:2009-cv-04326-KDE-ALC                       Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-04327-KDE-ALC                       Jayco Enterprises, Inc.,
2:2009-cv-04328-KDE-ALC                       Forest River, Inc.,
2:2009-cv-04329-KDE-ALC                       Timberland RV Company,
2:2009-cv-04330-KDE-ALC                       Forest River, Inc.,
2:2009-cv-04331-KDE-ALC                       Skyline Corporation,
2:2009-cv-04332-KDE-ALC                       Sunray RV, LLC,
2:2009-cv-04333-KDE-ALC                       Jayco Enterprises, Inc.,
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2:2009-cv-04334-KDE-ALC                       Recreation By Design, LLC,
2:2009-cv-04337-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-04338-KDE-ALC                       Timberland RV Company,
2:2009-cv-04340-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-04427-KDE-ALC                       Keystone RV Company,
2:2009-cv-04430-KDE-ALC                       Gulf Stream Coach Inc,
2:2009-cv-04438-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-04448-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-04462-KDE-ALC                       Frontier RV, Inc.,
2:2009-cv-04518-KDE-ALC                       Crum & Forster Specialty Insurance Company,
2:2009-cv-04518-KDE-ALC                       Sentry Insurance Agency, Inc.,
2:2009-cv-04519-KDE-ALC                       Gulf Stream Coach, Inc.,
2:2009-cv-04525-KDE-ALC                       Crum & Forster Specialty Insurance Company,
2:2009-cv-04525-KDE-ALC                       Mutual Insurance Company,
2:2009-cv-04525-KDE-ALC                       Sentry Insurance Company,
2:2009-cv-04530-KDE-ALC                       Keystone Industries, Inc.,
2:2009-cv-04535-KDE-ALC                       Forest River Industries,
2:2009-cv-04536-KDE-ALC                       Forest River Industries,
2:2009-cv-04541-KDE-ALC                       Skyline Corporation,
2:2009-cv-04548-KDE-ALC                       Skyline Corporation,
2:2009-cv-04549-KDE-ALC                       Jayco Enterprises, Inc.,
2:2009-cv-04552-KDE-ALC                       Starcraft RV, Inc.,
2:2009-cv-04554-KDE-ALC                       Jayco Enterprises, Inc.,
2:2009-cv-04557-KDE-ALC                       Arch Specialty Insurance Company,
2:2009-cv-04557-KDE-ALC                       Lexington Insurance Company,
2:2009-cv-04557-KDE-ALC                       Liberty Mutual Insurance Company,
2:2009-cv-04557-KDE-ALC                       Westchester Surplus Lines Insurance Company,
2:2009-cv-04558-KDE-ALC                       Keystone Industries, Inc.,
2:2009-cv-04558-KDE-ALC                       Keystone RV Company,
2:2009-cv-04559-KDE-ALC                       KZRV, LP,
2:2009-cv-04561-KDE-ALC                       Arch Specialty Insurance Company,
2:2009-cv-04561-KDE-ALC                       Lexington Insurance Company,
2:2009-cv-04561-KDE-ALC                       Liberty Mutual Insurance Company,
2:2009-cv-04561-KDE-ALC                       R-Vision, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 10 of 105


2:2009-cv-04561-KDE-ALC                        Westchester Surplus Lines Insurance Company,
                                               American International Specialty Lines Insurance
2:2009-cv-04563-KDE-ALC                        Company,
2:2009-cv-04563-KDE-ALC                        Insurance Company for the State of Pennsylvania,
2:2009-cv-04564-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-04565-KDE-ALC                        Skyline Corporation,
2:2009-cv-04573-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04578-KDE-ALC                        Hy-Line Enterprises Holdings, LLC,
2:2009-cv-04580-KDE-ALC                        Hy-Line Enterprises Holdings, LLC,
2:2009-cv-04582-KDE-ALC                        Coachman Recreactional Vehicle Company, Inc,
2:2009-cv-04584-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-04584-KDE-ALC                        Mutual Insurance Company,
2:2009-cv-04584-KDE-ALC                        Sentry Insurance Company,
2:2009-cv-04586-KDE-ALC                        Jayco Enterprises, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-04589-KDE-ALC                        Company,
2:2009-cv-04589-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-04589-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-04592-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-04593-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-04594-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-04596-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-04597-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-04602-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-04602-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-04602-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-04603-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-04603-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-04603-KDE-ALC                        Liberty Mutual Insurance Company,
2:2009-cv-04603-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-04608-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-04610-KDE-ALC                        Crum & Foster Specialty Insurance Company,
2:2009-cv-04610-KDE-ALC                        Mutual Insurance Company,
2:2009-cv-04610-KDE-ALC                        Sentry Insurance Company,
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2:2009-cv-04628-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-04630-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-04630-KDE-ALC                        Keystone RV Company,
2:2009-cv-04638-KDE-ALC                        Komfort Corporation,
2:2009-cv-04639-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-04639-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-04639-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-04646-KDE-ALC                        Crum & Foster Specialty Insurance Company,
2:2009-cv-04646-KDE-ALC                        Mutual Insurance Company,
2:2009-cv-04646-KDE-ALC                        Sentry Insurance Company,
2:2009-cv-04661-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04662-KDE-ALC                        Gulf Stream Coach Inc,
2:2009-cv-04665-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04708-KDE-ALC                        DS Corp.,
2:2009-cv-04710-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-04713-KDE-ALC                        Forest River, Inc.,
2:2009-cv-04714-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-04716-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04717-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04718-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04719-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04721-KDE-ALC                        Jayco, Inc.,
2:2009-cv-04722-KDE-ALC                        Keystone RV Company,
2:2009-cv-04723-KDE-ALC                        KZRV, LP,
2:2009-cv-04727-KDE-ALC                        American International Specialty Lines,
2:2009-cv-04727-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-04727-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-04727-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-04727-KDE-ALC                        Starr Excess Liability Insurance Company, Ltd.,
2:2009-cv-04731-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-04734-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-04734-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-04734-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-04734-KDE-ALC                        R-Vision, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 12 of 105


2:2009-cv-04734-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-04737-KDE-ALC                        Skyline Corporation,
2:2009-cv-04740-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-04743-KDE-ALC                        Thor California, Inc.,
2:2009-cv-04743-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-04744-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-04749-KDE-ALC                        Timberland RV Company,
2:2009-cv-04751-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-04758-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-04758-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-04763-KDE-ALC                        American International Specialty Lines,
2:2009-cv-04763-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-04763-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-04764-KDE-ALC                        KZRV LP,
2:2009-cv-04766-KDE-ALC                        Skyline Corporation,
2:2009-cv-04767-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-04767-KDE-ALC                        Sentry Insurance,
2:2009-cv-04768-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04769-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-04772-KDE-ALC                        Gulfstream Coach, Inc.,
2:2009-cv-04773-KDE-ALC                        Keystone RV Company,
2:2009-cv-04777-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04778-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-04787-KDE-ALC                        American International Specialty Lines,
2:2009-cv-04787-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-04787-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-04792-KDE-ALC                        KZRV, LP,
2:2009-cv-04793-KDE-ALC                        Keystone RV Company,
2:2009-cv-04794-KDE-ALC                        Gulfstream Coach, Inc.,
2:2009-cv-04795-KDE-ALC                        Jayco, Inc.,
2:2009-cv-04797-KDE-ALC                        Forest River, Inc.,
2:2009-cv-04800-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-04801-KDE-ALC                        Coachman Industries Inc,
2:2009-cv-04801-KDE-ALC                        Coachman Recreational Vehicle Company, LLC,
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2:2009-cv-04801-KDE-ALC                        Coachman Recreational Vehicles of Georgia, LLC,
2:2009-cv-04804-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-04805-KDE-ALC                        Thor California, Inc.,
2:2009-cv-04807-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-04807-KDE-ALC                        Sentry Insurance,
2:2009-cv-04808-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-04808-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-04808-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-04810-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04811-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04812-KDE-ALC                        Jayco Enterprises,
2:2009-cv-04813-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-04818-KDE-ALC                        Jayco Enterprises Inc,
2:2009-cv-04820-KDE-ALC                        Forest River Inc,
2:2009-cv-04822-KDE-ALC                        Gulf Stream Coach Inc,
2:2009-cv-04823-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-04823-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-04823-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-04826-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-04827-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04827-KDE-ALC                        Liberty Insurance Corporation,
2:2009-cv-04831-KDE-ALC                        KZRV, LP,

2:2009-cv-04832-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-04834-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04835-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-04835-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-04835-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-04835-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-04838-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-04838-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-04838-KDE-ALC                        Sentry Insurance,
2:2009-cv-04839-KDE-ALC                        American International Group,
2:2009-cv-04839-KDE-ALC                        American International Specialty Lines,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 14 of 105


2:2009-cv-04839-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-04839-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-04839-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-04847-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04852-KDE-ALC                        Forest River Industries,
2:2009-cv-04853-KDE-ALC                        Dutchmen Manufacturing Inc,
2:2009-cv-04857-KDE-ALC                        Crossroads RV, Inc.,
2:2009-cv-04859-KDE-ALC                        KZRV LP,
2:2009-cv-04860-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-04860-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-04865-KDE-ALC                        Keystone Industries Inc,
2:2009-cv-04871-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-04871-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-04871-KDE-ALC                        Liberty Mutual Insurance Company,
2:2009-cv-04871-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-04872-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-04872-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-04873-KDE-ALC                        Pilgrim International Inc,
                                               American International Specialty Lines Insurance
2:2009-cv-04875-KDE-ALC                        Company,
2:2009-cv-04875-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-04875-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-04875-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-04876-KDE-ALC                        Heartland Recreational Vehicles L L C,
2:2009-cv-04877-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-04879-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-04880-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04891-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04892-KDE-ALC                        Forest River, Inc.,
2:2009-cv-04893-KDE-ALC                        Timberland RV Company,
2:2009-cv-04895-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-04896-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04897-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-04897-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
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2:2009-cv-04898-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-04900-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-04903-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-04903-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-04904-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-04904-KDE-ALC                        Keystone RV Company,
2:2009-cv-04905-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-04907-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-04909-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04910-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04911-KDE-ALC                        Thor California, Inc.,
2:2009-cv-04912-KDE-ALC                        Jayco, Inc.,
2:2009-cv-04913-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04915-KDE-ALC                        Timberland RV Company,
2:2009-cv-04918-KDE-ALC                        KZRV, LP,
2:2009-cv-04920-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-04921-KDE-ALC                        Forest River, Inc.,
2:2009-cv-04922-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-04922-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-04924-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04925-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-04928-KDE-ALC                        Thor California Inc,
2:2009-cv-04929-KDE-ALC                        Layton Homes Corp,
2:2009-cv-04931-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-04934-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-04935-KDE-ALC                        American International Specialty Lines,
2:2009-cv-04935-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-04935-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-04936-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04938-KDE-ALC                        Gulf Stream Coach Inc,
2:2009-cv-04939-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-04940-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2009-cv-04945-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-04946-KDE-ALC                        Keystone RV Company,
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2:2009-cv-04947-KDE-ALC                        Keystone RV Company,
2:2009-cv-04948-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-04951-KDE-ALC                        Forest River, Inc.,
2:2009-cv-04952-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04954-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04955-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04956-KDE-ALC                        Keystone RV Company,
2:2009-cv-04958-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-04959-KDE-ALC                        Keystone RV Company,
2:2009-cv-04960-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-04961-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-04961-KDE-ALC                        Coachmen Recreational Vehicle Company,

2:2009-cv-04961-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-04962-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-04963-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-04964-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-04964-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-04964-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-04965-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-04966-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-04966-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-04966-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-04967-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04969-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04971-KDE-ALC                        Timberland RV Company,
2:2009-cv-04973-KDE-ALC                        Forest River, Inc.,
2:2009-cv-04976-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-04977-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-04978-KDE-ALC                        Forest River, Inc.,
2:2009-cv-04979-KDE-ALC                        Forest River, Inc.,
2:2009-cv-04980-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-04981-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04982-KDE-ALC                        DS Corp.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 17 of 105


2:2009-cv-04983-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-04984-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-04985-KDE-ALC                        Forest River, Inc.,
2:2009-cv-04986-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-04987-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-04988-KDE-ALC                        DS Corp.,
2:2009-cv-04991-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04992-KDE-ALC                        Thor California, Inc.,
2:2009-cv-04992-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-04994-KDE-ALC                        DS Corp.,
2:2009-cv-04996-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-04997-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia,
2:2009-cv-04998-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-04998-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-04998-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-05000-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-05000-KDE-ALC                        Timberland RV Company,
2:2009-cv-05001-KDE-ALC                        DS Corp.,
2:2009-cv-05002-KDE-ALC                        Keystone RV Company,
2:2009-cv-05006-KDE-ALC                        Keystone RV Company,
2:2009-cv-05007-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05009-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-05010-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-05224-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05225-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05225-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05225-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-05226-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-05226-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-05226-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05227-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05227-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05227-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-05228-KDE-ALC                        Keystone RV Company,
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2:2009-cv-05229-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-05230-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05231-KDE-ALC                        Timberland RV Company,
2:2009-cv-05232-KDE-ALC                        Frontier RV, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-05233-KDE-ALC                        Company,
2:2009-cv-05233-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-05233-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05235-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-05235-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-05235-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05236-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05236-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05236-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-05238-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-05238-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-05238-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05239-KDE-ALC                        Timberland RV Company,
2:2009-cv-05240-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-05241-KDE-ALC                        Gulf Stream Coach, Inc.,

2:2009-cv-05242-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-05243-KDE-ALC                        Recreation By Design, LLC,

2:2009-cv-05244-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-05245-KDE-ALC                        DS Corp.,
2:2009-cv-05246-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-05249-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-05250-KDE-ALC                        Keystone RV Company,
2:2009-cv-05253-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-05255-KDE-ALC                        Thor California, Inc.,
2:2009-cv-05256-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-05256-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05256-KDE-ALC                        Liberty Mutual Insurance Corporation,
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2:2009-cv-05256-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-05256-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-05258-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05260-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-05261-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05263-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-05266-KDE-ALC                        Thor California, Inc.,
2:2009-cv-05266-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-05267-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-05267-KDE-ALC                        Keystone RV Company,
                                               American International Specialty Lines Insurance
2:2009-cv-05268-KDE-ALC                        Company,
2:2009-cv-05268-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-05268-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05268-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-05268-KDE-ALC                        Monaco Coach, Inc.,
2:2009-cv-05268-KDE-ALC                        Starr Excess Liability Insurance Company, Ltd.,
2:2009-cv-05269-KDE-ALC                        Vanguard Industries, Inc.,
2:2009-cv-05272-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05274-KDE-ALC                        DS Corp.,
2:2009-cv-05275-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-05275-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia,
2:2009-cv-05275-KDE-ALC                        Coachmen Recreational Vehicle Company, Inc.,
2:2009-cv-05278-KDE-ALC                        Timberland RV Company,
2:2009-cv-05279-KDE-ALC                        Gulf Stream - Cavalier,
2:2009-cv-05293-KDE-ALC                        Skyline Corporation,
2:2009-cv-05294-KDE-ALC                        Skyline Corporation,
2:2009-cv-05295-KDE-ALC                        Gulf Stream Coach Inc,
2:2009-cv-05296-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05297-KDE-ALC                        Gulf Stream Coach Inc,
2:2009-cv-05298-KDE-ALC                        Forest River Inc,
2:2009-cv-05299-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05300-KDE-ALC                        Gulf Stream Coach Inc,
2:2009-cv-05301-KDE-ALC                        Gulf Stream Coach Inc,
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2:2009-cv-05303-KDE-ALC                        Frontier RV, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-05306-KDE-ALC                        Company,
2:2009-cv-05306-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-05306-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05308-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05308-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05308-KDE-ALC                        Sentry Insurance a Mutual Company,
                                               American International Specialty Lines Insurance
2:2009-cv-05309-KDE-ALC                        Company,
2:2009-cv-05309-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-05309-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05311-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05311-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05311-KDE-ALC                        Sentry Insurance a Mutual Company,
                                               American International Specialty Lines Insurance
2:2009-cv-05313-KDE-ALC                        Company,
2:2009-cv-05313-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-05313-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05314-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05314-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05314-KDE-ALC                        Sentry Insurance a Mutual Company,
                                               American International Specialty Lines Insurance
2:2009-cv-05316-KDE-ALC                        Company,
2:2009-cv-05316-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-05316-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05317-KDE-ALC                        Liberty Mutual Insurance Company,
2:2009-cv-05320-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05320-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05320-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-05322-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-05323-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-05324-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-05338-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
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2:2009-cv-05339-KDE-ALC                        Skyline Corporation,
2:2009-cv-05359-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-05364-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-05364-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-05364-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-05365-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-05365-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-05365-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-05366-KDE-ALC                        Dutchmen Manufacturing, Inc,
2:2009-cv-05368-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-05368-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-05368-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-05369-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-05369-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-05369-KDE-ALC                        Coachmen Recreational Vehicle of Georgia, LLC,
2:2009-cv-05370-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-05371-KDE-ALC                        DS Corp.,
2:2009-cv-05373-KDE-ALC                        DS Corp.,
2:2009-cv-05377-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05378-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-05381-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05382-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05383-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05384-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-05386-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2009-cv-05387-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-05387-KDE-ALC                        Jayco, Inc.,
2:2009-cv-05388-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-05388-KDE-ALC                        Jayco, Inc.,
2:2009-cv-05390-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05392-KDE-ALC                        Gulf Stream Coach, Inc.,
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2:2009-cv-05393-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-05394-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-05395-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05396-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05397-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05398-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-05398-KDE-ALC                        Jayco, Inc.,
2:2009-cv-05399-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-05400-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-05400-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05400-KDE-ALC                        Liberty Insurance Corporation,
2:2009-cv-05400-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-05401-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-05401-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05401-KDE-ALC                        Liberty Insurance Corporation,
2:2009-cv-05401-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-05402-KDE-ALC                        Thor California Inc,
2:2009-cv-05402-KDE-ALC                        Thor Industries Inc,
2:2009-cv-05404-KDE-ALC                        Thor California Inc,
2:2009-cv-05404-KDE-ALC                        Thor Industries Inc,
2:2009-cv-05406-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-05408-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-05408-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05408-KDE-ALC                        Liberty Mutual Insurance Company,
2:2009-cv-05408-KDE-ALC                        Westchester Surplus Lines Insurance Company,
                                               American International Specialty Lines Insurance
2:2009-cv-05409-KDE-ALC                        Company,
2:2009-cv-05409-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-05409-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05410-KDE-ALC                        Skyline Corporation,
                                               American International Specialty Lines Insurance
2:2009-cv-05412-KDE-ALC                        Company,
2:2009-cv-05412-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-05412-KDE-ALC                        Lexington Insurance Company,
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2:2009-cv-05413-KDE-ALC                        KZRV, LP,
2:2009-cv-05414-KDE-ALC                        KZRV, LP,
2:2009-cv-05417-KDE-ALC                        Thor California, Inc.,
2:2009-cv-05417-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-05421-KDE-ALC                        Keystone RV Company,
2:2009-cv-05422-KDE-ALC                        Keystone RV Company,
2:2009-cv-05423-KDE-ALC                        Keystone RV Company,
2:2009-cv-05424-KDE-ALC                        Keystone RV Company,
2:2009-cv-05425-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-05428-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05428-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05428-KDE-ALC                        Sentry Insurance,
2:2009-cv-05429-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05429-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05429-KDE-ALC                        Sentry Insurance,
2:2009-cv-05430-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05430-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05430-KDE-ALC                        Sentry Insurance,
2:2009-cv-05431-KDE-ALC                        Recreation By Design L L C,
2:2009-cv-05432-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05432-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05432-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-05433-KDE-ALC                        Recreation By Design L L C,
2:2009-cv-05477-KDE-ALC                        Keystone RV Company,
2:2009-cv-05493-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05493-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05493-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-05494-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05495-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05519-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05519-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05519-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-05522-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05526-KDE-ALC                        Jayco, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 24 of 105


2:2009-cv-05527-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05528-KDE-ALC                        Jayco, Inc.,
2:2009-cv-05529-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-05531-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05536-KDE-ALC                        Timberland RV Company,
2:2009-cv-05537-KDE-ALC                        Timberland RV Company,
2:2009-cv-05539-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-05540-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-05542-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-05543-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05544-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-05545-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-05546-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-05547-KDE-ALC                        Thor California, Inc.,
2:2009-cv-05549-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05550-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-05550-KDE-ALC                        Keystone RV Company,
2:2009-cv-05551-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-05551-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-05551-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2009-cv-05552-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05553-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-05553-KDE-ALC                        Thor California, Inc.,
2:2009-cv-05554-KDE-ALC                        KZRV, LP,
2:2009-cv-05555-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-05558-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-05559-KDE-ALC                        DS Corp.,
2:2009-cv-05562-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-05562-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-05562-KDE-ALC                        Coachmen Recreational Vehicle Company, Inc.,
2:2009-cv-05565-KDE-ALC                        RVIT, Inc.,
2:2009-cv-05567-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-05568-KDE-ALC                        Pilgrim International, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 25 of 105


2:2009-cv-05569-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-05580-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-05580-KDE-ALC                        Jayco, Inc.,
2:2009-cv-05582-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-05582-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-05582-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-05584-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-05585-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05589-KDE-ALC                        Thor California, Inc.,
2:2009-cv-05589-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-05592-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-05593-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-05595-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-05597-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05599-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-05600-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05601-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-05601-KDE-ALC                        Keystone RV Company,
2:2009-cv-05602-KDE-ALC                        DS Corp.,
2:2009-cv-05605-KDE-ALC                        KZRV, LP,
2:2009-cv-05610-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-05611-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-05621-KDE-ALC                        Recreation By Design, LLC,
                                               American International Specialty Lines Insurance
2:2009-cv-05622-KDE-ALC                        Company,
2:2009-cv-05622-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-05622-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05630-KDE-ALC                        Dutchmen Manufacturing, Inc,
2:2009-cv-05636-KDE-ALC                        Thor California, Inc.,
2:2009-cv-05637-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05638-KDE-ALC                        Thor California, Inc.,
2:2009-cv-05639-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-05641-KDE-ALC                        Skyline Corporation,
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2:2009-cv-05644-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-05644-KDE-ALC                        Keystone RV Company,
2:2009-cv-05646-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-05646-KDE-ALC                        Keystone RV Company,
2:2009-cv-05647-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-05647-KDE-ALC                        Keystone RV Company,
2:2009-cv-05649-KDE-ALC                        Skyline Corporation,
2:2009-cv-05650-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-05651-KDE-ALC                        Thor California, Inc.,
2:2009-cv-05653-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-05654-KDE-ALC                        Layton Homes Corporation,
2:2009-cv-05654-KDE-ALC                        Skyline Corporation,
2:2009-cv-05655-KDE-ALC                        Layton Homes Corporation,
2:2009-cv-05655-KDE-ALC                        Skyline Corporation,
2:2009-cv-05656-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05657-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05657-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05657-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-05668-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-05669-KDE-ALC                        KZRV, LP,
2:2009-cv-05670-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-05670-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-05672-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-05673-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-05674-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-05675-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-05676-KDE-ALC                        Timberland RV Company,
2:2009-cv-05678-KDE-ALC                        Jayco, Inc.,
2:2009-cv-05679-KDE-ALC                        Thor California, Inc.,
2:2009-cv-05684-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-05686-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-05686-KDE-ALC                        Keystone RV Company,
2:2009-cv-05687-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-05688-KDE-ALC                        Gulf Stream Coach, Inc.,
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2:2009-cv-05689-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-05689-KDE-ALC                        Keystone RV Company,
2:2009-cv-05690-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05691-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-05692-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05693-KDE-ALC                        Timberland RV Company,
2:2009-cv-05694-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-05695-KDE-ALC                        Jayco, Inc.,
2:2009-cv-05697-KDE-ALC                        Jayco, Inc.,
2:2009-cv-05698-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05700-KDE-ALC                        Jayco, Inc.,
2:2009-cv-05701-KDE-ALC                        Timberland RV Company,
2:2009-cv-05704-KDE-ALC                        Timberland RV Company,
2:2009-cv-05705-KDE-ALC                        Timberland RV Company,
2:2009-cv-05707-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-05710-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05710-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05710-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-05723-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-05723-KDE-ALC                        Keystone RV Company,
2:2009-cv-05725-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-05727-KDE-ALC                        Layton Homes Corporation,
2:2009-cv-05727-KDE-ALC                        Skyline Corporation,
2:2009-cv-05728-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05729-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-05732-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05733-KDE-ALC                        KZRV, LP,
2:2009-cv-05734-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05735-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-05736-KDE-ALC                        Liberty Mutual Insurance Company,
2:2009-cv-05737-KDE-ALC                        Liberty Mutual Insurance Company,
2:2009-cv-05739-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05739-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05739-KDE-ALC                        Sentry Insurance a Mutual Company,
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                                               American International Specialty Lines Insurance
2:2009-cv-05740-KDE-ALC                        Company,
2:2009-cv-05740-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-05740-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05741-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-05741-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-05742-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05745-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-05746-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-05746-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-05748-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05749-KDE-ALC                        Liberty Mutual Insurance Company,
2:2009-cv-05749-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-05749-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-05750-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05750-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05750-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-05753-KDE-ALC                        Thor California, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-05754-KDE-ALC                        Company,
2:2009-cv-05754-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-05754-KDE-ALC                        Lexington Insurance Company,
                                               American International Specialty Lines Insurance
2:2009-cv-05755-KDE-ALC                        Company,
2:2009-cv-05755-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-05755-KDE-ALC                        Lexington Insurance Company,
                                               American International Specialty Lines Insurance
2:2009-cv-05758-KDE-ALC                        Company,
2:2009-cv-05758-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-05758-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05760-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05760-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05760-KDE-ALC                        Sentry Insurance a Mutual Company,
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                                               American International Specialty Lines Insurance
2:2009-cv-05761-KDE-ALC                        Company,
2:2009-cv-05761-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-05761-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05763-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05763-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05763-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-05764-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05765-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05766-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05770-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05772-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05775-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-05829-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05829-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05829-KDE-ALC                        Sentry Insurance,
2:2009-cv-05846-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05890-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05890-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-05891-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05892-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05893-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-05894-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-05904-KDE-ALC                        Keystone RV Company,
2:2009-cv-05906-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05926-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05928-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-05937-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05938-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05938-KDE-ALC                        Sentry Insurance,
2:2009-cv-05939-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-05940-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-05940-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
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2:2009-cv-05940-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-05940-KDE-ALC                        Viking Recreational Vehicles, LLC,
2:2009-cv-05941-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05942-KDE-ALC                        Layton Homes Corporation,
2:2009-cv-05942-KDE-ALC                        Skyline Corporation,
2:2009-cv-05954-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05954-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05954-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-05955-KDE-ALC                        Jayco, Inc.,
2:2009-cv-05956-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-05956-KDE-ALC                        Keystone RV Company,
2:2009-cv-05957-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-05959-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05959-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05959-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-05960-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-05963-KDE-ALC                        Thor California, Inc.,
2:2009-cv-05964-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-05969-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-05972-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-05975-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-05976-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05985-KDE-ALC                        Skyline Corporation,
2:2009-cv-05991-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-05991-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05991-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-05991-KDE-ALC                        Sentry Insurance,
2:2009-cv-05992-KDE-ALC                        Forest River, Inc.,
2:2009-cv-05992-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05993-KDE-ALC                        Keystone RV Company,
2:2009-cv-05995-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-05996-KDE-ALC                        Gulf Stream Coach, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-05998-KDE-ALC                        Company,
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2:2009-cv-05998-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-05998-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-05998-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-05998-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-05999-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06000-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-06000-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-06000-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06001-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06003-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-06004-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06006-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-06008-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-06008-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-06011-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-06011-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-06011-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06013-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06015-KDE-ALC                        Skyline Corporation,
2:2009-cv-06019-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06022-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-06023-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06024-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-06024-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-06025-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-06025-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-06026-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06027-KDE-ALC                        Thor California, Inc.,
2:2009-cv-06028-KDE-ALC                        Gulf Stream Coach, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-06029-KDE-ALC                        Company,
2:2009-cv-06029-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-06029-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06030-KDE-ALC                        Gulf Stream Coach, Inc.,
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2:2009-cv-06032-KDE-ALC                        Jayco, Inc.,
2:2009-cv-06033-KDE-ALC                        Recreation By Design, LLC,
                                               American International Specialty Lines Insurance
2:2009-cv-06034-KDE-ALC                        Company,
2:2009-cv-06034-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-06034-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06038-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06040-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06049-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06069-KDE-ALC                        Cruiser RV, LLC,
2:2009-cv-06071-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06076-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06077-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06078-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06105-KDE-ALC                        KZRV, LP,
2:2009-cv-06108-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-06156-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06157-KDE-ALC                        Jayco, Inc.,
2:2009-cv-06159-KDE-ALC                        TL Industries, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-06163-KDE-ALC                        Company,
2:2009-cv-06163-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-06163-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06163-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-06163-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-06165-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06165-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06166-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-06166-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-06166-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-06168-KDE-ALC                        Skyline Corporation,
2:2009-cv-06170-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06170-KDE-ALC                        Keystone RV Company,
2:2009-cv-06171-KDE-ALC                        Keystone RV Company,
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2:2009-cv-06172-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-06173-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06173-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06174-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06177-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-06184-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-06188-KDE-ALC                        Coachman Industries Inc,
2:2009-cv-06189-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06191-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-06191-KDE-ALC                        Jayco, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-06192-KDE-ALC                        Company,
2:2009-cv-06192-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-06192-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06194-KDE-ALC                        Keystone RV Company,
2:2009-cv-06195-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06197-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06199-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-06199-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06199-KDE-ALC                        Liberty Insurance Corporation,
2:2009-cv-06199-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-06203-KDE-ALC                        KZRV, LP,
2:2009-cv-06206-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06215-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06216-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06217-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06252-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06253-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-06254-KDE-ALC                        Keystone RV Company,
2:2009-cv-06255-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06256-KDE-ALC                        Thor California Inc,
2:2009-cv-06258-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-06274-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-06274-KDE-ALC                        Sentry Insurance,
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2:2009-cv-06275-KDE-ALC                        American International Specialty Lines,
2:2009-cv-06275-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-06275-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06277-KDE-ALC                        KZRV, LP,
2:2009-cv-06278-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06279-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-06280-KDE-ALC                        Jayco, Inc.,
2:2009-cv-06283-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-06293-KDE-ALC                        Gulf Stream Coach, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-06294-KDE-ALC                        Company,
2:2009-cv-06294-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-06294-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06295-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-06295-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-06307-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06309-KDE-ALC                        KZRV, LP,
2:2009-cv-06310-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06311-KDE-ALC                        Gulf Stream Coach, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-06312-KDE-ALC                        Company,
2:2009-cv-06312-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-06312-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06314-KDE-ALC                        Skyline Corporation,
2:2009-cv-06315-KDE-ALC                        Skyline Corporation,
2:2009-cv-06318-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06319-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06320-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06322-KDE-ALC                        Thor California, Inc.,
2:2009-cv-06322-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-06323-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-06323-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-06323-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-06324-KDE-ALC                        Skyline Corporation,
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2:2009-cv-06325-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06326-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-06327-KDE-ALC                        Layton Homes Corp.,
                                               American International Specialty Lines Insurance
2:2009-cv-06329-KDE-ALC                        Company,
2:2009-cv-06329-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-06329-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06333-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06334-KDE-ALC                        Layton Homes Corp.,
                                               American International Specialty Lines Insurance
2:2009-cv-06335-KDE-ALC                        Company,
2:2009-cv-06335-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-06335-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06345-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-06346-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-06346-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-06346-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-06347-KDE-ALC                        Skyline Corporation,
2:2009-cv-06348-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-06349-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06370-KDE-ALC                        DS Corp.,
2:2009-cv-06376-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06377-KDE-ALC                        Coachman Industries Inc,
2:2009-cv-06377-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06393-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06395-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06405-KDE-ALC                        Keystone RV Company,
2:2009-cv-06406-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06407-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-06409-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06410-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-06410-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-06410-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06410-KDE-ALC                        Starr Excess Liability Insurance Company, Ltd.,
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2:2009-cv-06411-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06417-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-06423-KDE-ALC                        KZRV, LP,
2:2009-cv-06424-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-06425-KDE-ALC                        Jayco, Inc.,
2:2009-cv-06426-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-06427-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-06428-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-06430-KDE-ALC                        Thor California, Inc.,
2:2009-cv-06431-KDE-ALC                        Skyline Corporation,
2:2009-cv-06432-KDE-ALC                        Skyline Corporation,
2:2009-cv-06472-KDE-ALC                        Jayco, Inc.,
2:2009-cv-06473-KDE-ALC                        Keystone RV Company,
2:2009-cv-06496-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06500-KDE-ALC                        Forest River Inc,
2:2009-cv-06502-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06503-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06504-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06505-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06564-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-06564-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-06565-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06567-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06570-KDE-ALC                        Skyline Corporation,
2:2009-cv-06571-KDE-ALC                        Jayco, Inc.,
2:2009-cv-06573-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06574-KDE-ALC                        Jayco, Inc.,
2:2009-cv-06575-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06587-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06608-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06615-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06616-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06633-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06634-KDE-ALC                        Forest River, Inc.,
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2:2009-cv-06638-KDE-ALC                        Vanguard, LLC,
2:2009-cv-06640-KDE-ALC                        SunRay Investments, LLC,
2:2009-cv-06688-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-06688-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-06688-KDE-ALC                        Sentry Insurance Agency,
2:2009-cv-06698-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-06700-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06701-KDE-ALC                        Jayco, Inc.,
2:2009-cv-06704-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06705-KDE-ALC                        Recreation By Design,
2:2009-cv-06708-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-06709-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06711-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-06715-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-06717-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06718-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-06719-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-06778-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06780-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06781-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06782-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-06796-KDE-ALC                        American International Group,
2:2009-cv-06796-KDE-ALC                        American International Specialty Lines,
2:2009-cv-06796-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-06796-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06799-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06800-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-06800-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-06800-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2009-cv-06832-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-06835-KDE-ALC                        Forest River, Inc.,

2:2009-cv-06836-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-06837-KDE-ALC                        Keystone RV Company,
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2:2009-cv-06879-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06883-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06889-KDE-ALC                        Skyline Corporation,
2:2009-cv-06894-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06896-KDE-ALC                        Jayco Enterprises, Inc.,

2:2009-cv-06911-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-06911-KDE-ALC                        Coachmen Recreational Vehicle Company, Inc.,
2:2009-cv-06912-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-06916-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-06916-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-06916-KDE-ALC                        Sentry Insurance,
2:2009-cv-06917-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-06917-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-06923-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-06924-KDE-ALC                        Timberland RV Company,
2:2009-cv-06929-KDE-ALC                        Thor California, Inc.,
2:2009-cv-06929-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-06931-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-06933-KDE-ALC                        Skyline Corporation,
2:2009-cv-06937-KDE-ALC                        Liberty Insurance Corp.,
2:2009-cv-06937-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-06940-KDE-ALC                        DS Corp.,
2:2009-cv-06942-KDE-ALC                        Dutchmen Manufacturing, Inc,
2:2009-cv-06944-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06945-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06947-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06948-KDE-ALC                        American International Specialty Lines,
2:2009-cv-06948-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-06948-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-06948-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-06949-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06951-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06958-KDE-ALC                        Keystone RV Company,
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2:2009-cv-06959-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-06959-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-06959-KDE-ALC                        Sentry Insurance,
2:2009-cv-06960-KDE-ALC                        KZRV LP,
2:2009-cv-06964-KDE-ALC                        Jayco, Inc.,
2:2009-cv-06966-KDE-ALC                        Keystone RV Company,
2:2009-cv-06978-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-06978-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-06979-KDE-ALC                        Timberland RV Company,
2:2009-cv-06981-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-06981-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-06981-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-06982-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06983-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06984-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-06984-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-06984-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-06985-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-06986-KDE-ALC                        Timberland RV Company,
2:2009-cv-06987-KDE-ALC                        Forest River, Inc.,
2:2009-cv-06988-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-06999-KDE-ALC                        Keystone RV Company,
2:2009-cv-07039-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07044-KDE-ALC                        Jayco, Inc.,
2:2009-cv-07045-KDE-ALC                        Thor California, Inc.,
2:2009-cv-07050-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-07051-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07064-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-07065-KDE-ALC                        DS Corp.,
2:2009-cv-07067-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-07070-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07072-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07073-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-07075-KDE-ALC                        Gulf Stream Coach, Inc.,
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2:2009-cv-07076-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07078-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07079-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07081-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07083-KDE-ALC                        Jayco, Inc.,
2:2009-cv-07084-KDE-ALC                        Skyline Corporation,
2:2009-cv-07085-KDE-ALC                        Keystone RV Company,
2:2009-cv-07086-KDE-ALC                        KZRV LP,
2:2009-cv-07089-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-07090-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-07093-KDE-ALC                        American International Specialty Lines,
2:2009-cv-07093-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-07093-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07093-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-07095-KDE-ALC                        SunRay Investments, LLC,
2:2009-cv-07099-KDE-ALC                        Thor California, Inc.,
2:2009-cv-07100-KDE-ALC                        T L Industries Inc,
2:2009-cv-07101-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-07101-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-07101-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-07101-KDE-ALC                        Sentry Insurance,
2:2009-cv-07102-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-07104-KDE-ALC                        Liberty Mutual Insurance Company,
2:2009-cv-07104-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-07107-KDE-ALC                        Timberland RV Company,
2:2009-cv-07115-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-07116-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2009-cv-07117-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-07123-KDE-ALC                        Viking Recreational Vehicle Company, LLC,
2:2009-cv-07150-KDE-ALC                        Jayco, Inc.,
2:2009-cv-07152-KDE-ALC                        Keystone RV Company,
2:2009-cv-07153-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07154-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07155-KDE-ALC                        Coachmen Industries, Inc.,
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2:2009-cv-07155-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-07156-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07158-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-07159-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-07161-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-07161-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-07161-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-07219-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07245-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07258-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07259-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-07259-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07259-KDE-ALC                        Liberty Insurance Corporation,
2:2009-cv-07259-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-07261-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07262-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-07262-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-07262-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-07263-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07274-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07275-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07278-KDE-ALC                        Thor California, Inc.,
2:2009-cv-07278-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-07281-KDE-ALC                        Keystone RV Company,
2:2009-cv-07282-KDE-ALC                        KZRV, LP,
2:2009-cv-07283-KDE-ALC                        Keystone RV Company,
2:2009-cv-07284-KDE-ALC                        Thor California, Inc.,
2:2009-cv-07284-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-07291-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-07292-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07293-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07294-KDE-ALC                        Gulf Stream Coach, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-07296-KDE-ALC                        Company,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 42 of 105


2:2009-cv-07296-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-07296-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07297-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-07298-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-07299-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-07299-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07299-KDE-ALC                        Liberty Insurance Corporation,
2:2009-cv-07299-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-07300-KDE-ALC                        Forest River, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-07303-KDE-ALC                        Company,
2:2009-cv-07303-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-07303-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07304-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07315-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-07315-KDE-ALC                        Jayco, Inc.,
2:2009-cv-07318-KDE-ALC                        KZRV, LP,
2:2009-cv-07319-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-07320-KDE-ALC                        DS Corp.,
2:2009-cv-07322-KDE-ALC                        Coachman Industries Inc,

2:2009-cv-07322-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-07322-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-07323-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07343-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07352-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-07352-KDE-ALC                        Coachmen Motor Works, LLC,
2:2009-cv-07353-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07354-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07355-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07357-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07370-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07388-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07480-KDE-ALC                        Gulf Stream Coach, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 43 of 105


2:2009-cv-07482-KDE-ALC                        Keystone RV Company,
2:2009-cv-07503-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-07512-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07524-KDE-ALC                        Keystone RV Company,
2:2009-cv-07530-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-07530-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-07530-KDE-ALC                        Sentry Insurance,
2:2009-cv-07531-KDE-ALC                        American International Specialty Lines,
2:2009-cv-07531-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-07531-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07531-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-07533-KDE-ALC                        Keystone RV Company,
2:2009-cv-07534-KDE-ALC                        Liberty Insurance Corp.,
2:2009-cv-07534-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-07536-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-07537-KDE-ALC                        Jayco, Inc.,
2:2009-cv-07539-KDE-ALC                        DS Corp.,
2:2009-cv-07540-KDE-ALC                        Skyline Corporation,
2:2009-cv-07541-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-07541-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-07541-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-07541-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07542-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-07542-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-07542-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-07542-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07543-KDE-ALC                        Keystone RV Company,
2:2009-cv-07544-KDE-ALC                        Keystone RV Company,
2:2009-cv-07546-KDE-ALC                        Keystone RV Company,
2:2009-cv-07547-KDE-ALC                        Keystone RV Company,
2:2009-cv-07548-KDE-ALC                        Jayco, Inc.,
2:2009-cv-07555-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07556-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07565-KDE-ALC                        Gulf Stream Coach, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 44 of 105


2:2009-cv-07566-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-07569-KDE-ALC                        KZRV, LP,
2:2009-cv-07573-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07575-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07580-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07581-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-07585-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07588-KDE-ALC                        Gulf Stream Coach, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-07591-KDE-ALC                        Company,
2:2009-cv-07591-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-07591-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07593-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-07594-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07597-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-07597-KDE-ALC                        Keystone RV Company,
2:2009-cv-07598-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-07599-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-07599-KDE-ALC                        Keystone RV Company,
                                               American International Specialty Lines Insurance
2:2009-cv-07600-KDE-ALC                        Company,
2:2009-cv-07600-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-07600-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07601-KDE-ALC                        Jayco, Inc.,
2:2009-cv-07613-KDE-ALC                        Jayco, Inc.,
2:2009-cv-07614-KDE-ALC                        Jayco, Inc.,
2:2009-cv-07624-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-07626-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-07665-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-07666-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-07680-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07681-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-07688-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07696-KDE-ALC                        Keystone RV Company,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 45 of 105


2:2009-cv-07697-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07703-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-07703-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-07703-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-07705-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07715-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07743-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07744-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-07744-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-07744-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-07745-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07747-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07748-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07749-KDE-ALC                        DS Corp.,
2:2009-cv-07751-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07754-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07755-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07756-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07758-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07759-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07760-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07762-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-07763-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-07767-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia,
2:2009-cv-07770-KDE-ALC                        Thor California, Inc.,
2:2009-cv-07770-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-07773-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-07773-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-07773-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-07774-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07784-KDE-ALC                        Keystone RV Company,
2:2009-cv-07785-KDE-ALC                        KZRV LP,
2:2009-cv-07786-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07792-KDE-ALC                        Keystone Industries Inc,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 46 of 105


2:2009-cv-07794-KDE-ALC                        American International Specialty Lines,
2:2009-cv-07794-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-07794-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07794-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-07795-KDE-ALC                        Recreation By Design L L C,
2:2009-cv-07797-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-07798-KDE-ALC                        Keystone RV Company,
2:2009-cv-07802-KDE-ALC                        SunRay Investments, LLC,
2:2009-cv-07803-KDE-ALC                        KZRV, LP,
2:2009-cv-07804-KDE-ALC                        Jayco, Inc.,
2:2009-cv-07807-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-07808-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-07808-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-07808-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-07808-KDE-ALC                        Sentry Insurance,
2:2009-cv-07810-KDE-ALC                        Vanguard, LLC,
2:2009-cv-07811-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-07812-KDE-ALC                        Thor California, Inc.,
2:2009-cv-07814-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-07814-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07814-KDE-ALC                        Liberty Insurance Corp.,
2:2009-cv-07814-KDE-ALC                        Liberty Mutual Insurance Company,
2:2009-cv-07814-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-07814-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-07815-KDE-ALC                        American International Specialty Lines,
2:2009-cv-07815-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-07815-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07815-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-07817-KDE-ALC                        Keystone RV Company,
2:2009-cv-07825-KDE-ALC                        Heartland Recreational Vehicles L L C,
2:2009-cv-07826-KDE-ALC                        Skyline Corporation,
2:2009-cv-07827-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-07830-KDE-ALC                        Thor California, Inc.,
2:2009-cv-07831-KDE-ALC                        Gulf Stream Coach Inc,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 47 of 105


2:2009-cv-07832-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-07833-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07834-KDE-ALC                        Vanguard, LLC,
2:2009-cv-07835-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07836-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2009-cv-07837-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-07838-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-07841-KDE-ALC                        DS Corp.,
2:2009-cv-07855-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07856-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07857-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07860-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07862-KDE-ALC                        Keystone RV Company,
2:2009-cv-07863-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-07866-KDE-ALC                        American International Specialty Lines,
2:2009-cv-07866-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-07866-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07867-KDE-ALC                        American International Specialty Lines,
2:2009-cv-07867-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-07867-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07868-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-07869-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-07870-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-07871-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07872-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-07873-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-07874-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-07874-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-07874-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-07876-KDE-ALC                        Keystone RV Company,
2:2009-cv-07877-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-07877-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07878-KDE-ALC                        Gulf Stream Coach, Inc.,
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2:2009-cv-07880-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-07880-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-07881-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-07881-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-07881-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-07883-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-07883-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-07883-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07885-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-07885-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-07885-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-07887-KDE-ALC                        Jayco, Inc.,
2:2009-cv-07889-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07890-KDE-ALC                        Gulf Stream Coach Inc,
2:2009-cv-07891-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07892-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07893-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07894-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07895-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07896-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07897-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-07899-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07900-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07901-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07903-KDE-ALC                        Gulf Stream Coach Inc,
2:2009-cv-07904-KDE-ALC                        Gulf Stream Coach Inc,
2:2009-cv-07906-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-07908-KDE-ALC                        KZRV, LP,
2:2009-cv-07909-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-07909-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-07909-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-07909-KDE-ALC                        Sentry Insurance,
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2:2009-cv-07914-KDE-ALC                        SunRay Investments, LLC,
2:2009-cv-07917-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-07917-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-07917-KDE-ALC                        Liberty Mutual Insurance Company,
2:2009-cv-07917-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-07917-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-07918-KDE-ALC                        Skyline Corporation,
2:2009-cv-07920-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-07922-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-07924-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07925-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07929-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07930-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07932-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07933-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-07937-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07939-KDE-ALC                        Coachman Industries Inc,
2:2009-cv-07943-KDE-ALC                        Coachman Industries Inc,
2:2009-cv-07945-KDE-ALC                        Skyline Corporation,
2:2009-cv-07947-KDE-ALC                        Skyline Corporation,
2:2009-cv-07949-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07950-KDE-ALC                        Forest River, Inc.,
2:2009-cv-07953-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07954-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07956-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-07964-KDE-ALC                        Timberland RV Company,
2:2009-cv-07970-KDE-ALC                        Forest River Inc,
2:2009-cv-07972-KDE-ALC                        Viking Recreational Vehicle Company, LLC,
2:2009-cv-07973-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-07974-KDE-ALC                        Timberland RV Company,
2:2009-cv-07977-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-07979-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2009-cv-07980-KDE-ALC                        DS Corp.,
2:2009-cv-07998-KDE-ALC                        Gulf Stream Coach, Inc.,
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2:2009-cv-07999-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08000-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08001-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08004-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08008-KDE-ALC                        American International Specialty Lines Ins. Co.,
2:2009-cv-08008-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-08008-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08008-KDE-ALC                        Starr Excess Liability Insurance Company, Ltd.,
2:2009-cv-08010-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-08010-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08010-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-08010-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-08012-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08013-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08016-KDE-ALC                        DS Corp.,
2:2009-cv-08017-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08019-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08022-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-08023-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08024-KDE-ALC                        Coachman Industries Inc,
2:2009-cv-08024-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-08024-KDE-ALC                        Coachmen Recreation Vehicles Company of Georgia, LLC,
2:2009-cv-08024-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08024-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2009-cv-08032-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-08032-KDE-ALC                        Coachmen Recreation Vehicles Company of Georgia, LLC,
2:2009-cv-08032-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08032-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2009-cv-08033-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08035-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08036-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08038-KDE-ALC                        Forest River, Inc.,
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2:2009-cv-08039-KDE-ALC                        Jayco, Inc.,
2:2009-cv-08040-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08042-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-08044-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-08045-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-08050-KDE-ALC                        Thor California, Inc.,
2:2009-cv-08050-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-08051-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-08052-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-08053-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-08053-KDE-ALC                        Keystone RV Company,
2:2009-cv-08054-KDE-ALC                        KZRV, LP,
2:2009-cv-08055-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-08056-KDE-ALC                        Jayco, Inc.,
2:2009-cv-08057-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08058-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-08059-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08061-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-08063-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08064-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08067-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08079-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-08080-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08083-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-08087-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-08089-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08090-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-08091-KDE-ALC                        KZRV, LP,
2:2009-cv-08092-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08094-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-08095-KDE-ALC                        DS Corp.,
2:2009-cv-08096-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-08097-KDE-ALC                        DS Corp.,
2:2009-cv-08098-KDE-ALC                        Forest River, Inc.,
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2:2009-cv-08099-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08100-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-08103-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08103-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08103-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2009-cv-08105-KDE-ALC                        Thor California, Inc.,
2:2009-cv-08105-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-08106-KDE-ALC                        Coachman Industries Inc,

2:2009-cv-08106-KDE-ALC                        Coachman Recreation Vehicles Company of Georgia, LLC,
2:2009-cv-08106-KDE-ALC                        Coachman Recreational,
2:2009-cv-08106-KDE-ALC                        Coachman Recreational Vehicle Company, LLC,
2:2009-cv-08106-KDE-ALC                        Coachman Recreational Vehicles of Georgia, LLC,
2:2009-cv-08107-KDE-ALC                        KZRV, LP,
2:2009-cv-08108-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-08109-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08109-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08109-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2009-cv-08111-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-08112-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08115-KDE-ALC                        Thor California, Inc.,
2:2009-cv-08115-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-08117-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-08117-KDE-ALC                        Keystone RV Company,
2:2009-cv-08118-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-08119-KDE-ALC                        KZRV, LP,
2:2009-cv-08125-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08126-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-08131-KDE-ALC                        KZRV, LP,
2:2009-cv-08134-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08135-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08136-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-08137-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-08139-KDE-ALC                        Keystone Industries, Inc.,
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2:2009-cv-08139-KDE-ALC                        Keystone RV Company,
2:2009-cv-08140-KDE-ALC                        Jayco, Inc.,
2:2009-cv-08141-KDE-ALC                        Thor California, Inc.,
2:2009-cv-08141-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-08142-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08143-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-08144-KDE-ALC                        DS Corp.,
2:2009-cv-08148-KDE-ALC                        Dutchmen Manufacturing, Inc,
2:2009-cv-08149-KDE-ALC                        DS Corp.,
2:2009-cv-08150-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08151-KDE-ALC                        Coachman Industries Inc,
2:2009-cv-08151-KDE-ALC                        Coachmen Recreational Vehicle Co L L C,
2:2009-cv-08151-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2009-cv-08153-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-08154-KDE-ALC                        R - Vision, Inc.,
2:2009-cv-08156-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-08160-KDE-ALC                        Jayco, Inc.,
2:2009-cv-08162-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-08163-KDE-ALC                        Dutchmen Manufacturing, Inc,
2:2009-cv-08167-KDE-ALC                        Coachman Industries Inc,
2:2009-cv-08167-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-08167-KDE-ALC                        Coachmen Recreation Vehicles Company of Georgia, LLC,
2:2009-cv-08167-KDE-ALC                        Coachmen Recreational,
2:2009-cv-08167-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08167-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2009-cv-08168-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-08169-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-08171-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-08173-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-08174-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-08175-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-08176-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08177-KDE-ALC                        Coachmen Industries, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 54 of 105


2:2009-cv-08177-KDE-ALC                        Coachmen Recreational,
2:2009-cv-08177-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08177-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2009-cv-08178-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08179-KDE-ALC                        Jayco, Inc.,
2:2009-cv-08181-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08181-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08181-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2009-cv-08182-KDE-ALC                        Dutchmen Manufacturing Inc,
2:2009-cv-08183-KDE-ALC                        DS Corp.,
2:2009-cv-08184-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08191-KDE-ALC                        KZRV, LP,
2:2009-cv-08192-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-08196-KDE-ALC                        Timberland RV Company,
2:2009-cv-08197-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-08198-KDE-ALC                        Thor California, Inc.,
2:2009-cv-08198-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-08201-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-08201-KDE-ALC                        Keystone RV Company,
2:2009-cv-08203-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08204-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-08204-KDE-ALC                        Keystone RV Company,
2:2009-cv-08205-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-08207-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-08208-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-08209-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-08210-KDE-ALC                        Thor California, Inc.,
2:2009-cv-08210-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-08212-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-08214-KDE-ALC                        DS Corp.,
2:2009-cv-08215-KDE-ALC                        Jayco, Inc.,
2:2009-cv-08216-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08217-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08218-KDE-ALC                        Pilgrim International, Inc.,
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2:2009-cv-08222-KDE-ALC                        Jayco, Inc.,
2:2009-cv-08230-KDE-ALC                        Thor California, Inc.,
2:2009-cv-08230-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-08233-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-08235-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-08237-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-08240-KDE-ALC                        KZRV, LP,
2:2009-cv-08241-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-08243-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-08243-KDE-ALC                        Keystone RV Company,
2:2009-cv-08244-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08244-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08244-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2009-cv-08245-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-08245-KDE-ALC                        Keystone RV Company,
2:2009-cv-08246-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-08249-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-08250-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08251-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-08251-KDE-ALC                        Keystone RV Company,
2:2009-cv-08252-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-08253-KDE-ALC                        Jayco, Inc.,
2:2009-cv-08255-KDE-ALC                        Timberland RV Company,
2:2009-cv-08256-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-08257-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-08259-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08259-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08259-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2009-cv-08262-KDE-ALC                        DS Corp.,
2:2009-cv-08264-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08267-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-08268-KDE-ALC                        KZRV, LP,
2:2009-cv-08269-KDE-ALC                        Thor California, Inc.,
2:2009-cv-08269-KDE-ALC                        Thor Industries, Inc.,
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2:2009-cv-08270-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-08272-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-08272-KDE-ALC                        Keystone RV Company,
2:2009-cv-08273-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-08275-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-08276-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-08277-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08279-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08280-KDE-ALC                        Jayco, Inc.,
2:2009-cv-08281-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-08283-KDE-ALC                        Thor California, Inc.,
2:2009-cv-08283-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-08284-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08284-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08284-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2009-cv-08285-KDE-ALC                        DS Corp.,
2:2009-cv-08286-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-08289-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08294-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08295-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-08296-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08298-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08300-KDE-ALC                        American International Specialty Lines,
2:2009-cv-08300-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-08300-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08301-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08301-KDE-ALC                        Keystone RV Company,
2:2009-cv-08303-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08305-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-08305-KDE-ALC                        Keystone RV Company,
2:2009-cv-08306-KDE-ALC                        Keystone Industries, Inc.,
2:2009-cv-08306-KDE-ALC                        Keystone RV Company,
2:2009-cv-08307-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08308-KDE-ALC                        Keystone Industries, Inc.,
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2:2009-cv-08308-KDE-ALC                        Keystone RV Company,
2:2009-cv-08313-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08314-KDE-ALC                        KZRV, LP,
2:2009-cv-08315-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08317-KDE-ALC                        Jayco, Inc.,
2:2009-cv-08318-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08320-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08322-KDE-ALC                        Cruiser RV, LLC,
2:2009-cv-08324-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-08325-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08325-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08326-KDE-ALC                        DS Corp.,
2:2009-cv-08328-KDE-ALC                        DS Corp.,
2:2009-cv-08332-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-08334-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08335-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-08338-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-08341-KDE-ALC                        DS Corp.,
2:2009-cv-08342-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08342-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08343-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-08345-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-08345-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-08345-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-08346-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-08347-KDE-ALC                        Frontier RV, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-08348-KDE-ALC                        Company,
2:2009-cv-08348-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-08348-KDE-ALC                        Lexington Insurance Company,
                                               American International Specialty Lines Insurance
2:2009-cv-08349-KDE-ALC                        Company,
2:2009-cv-08349-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-08349-KDE-ALC                        Lexington Insurance Company,
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                                               American International Specialty Lines Insurance
2:2009-cv-08351-KDE-ALC                        Company,
2:2009-cv-08351-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-08351-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08353-KDE-ALC                        Gulf Stream Coach, Inc.,
                                               American International Specialty Lines Insurance
2:2009-cv-08356-KDE-ALC                        Company,
2:2009-cv-08356-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-08356-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08358-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-08361-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-08361-KDE-ALC                        Sentry Insurance, a Mutual Company,
2:2009-cv-08364-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-08366-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08367-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08368-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2009-cv-08372-KDE-ALC                        Keystone RV Company,
2:2009-cv-08373-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-08374-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08375-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-08381-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-08381-KDE-ALC                        Sentry Insurance, a Mutual Company,
2:2009-cv-08384-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08384-KDE-ALC                        Coachmen Recreational Vehicle Co L L C,

2:2009-cv-08384-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-08385-KDE-ALC                        Thor California Inc,
2:2009-cv-08388-KDE-ALC                        DS Corp.,
2:2009-cv-08391-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-08393-KDE-ALC                        KZRV, LP,
2:2009-cv-08396-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-08398-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-08399-KDE-ALC                        Skyline Corporation,
2:2009-cv-08400-KDE-ALC                        Timberland RV Company,
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2:2009-cv-08401-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-08402-KDE-ALC                        Cruiser RV, LLC,
2:2009-cv-08404-KDE-ALC                        Arch Speciality Insurance Company,
2:2009-cv-08404-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08404-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-08404-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-08405-KDE-ALC                        American International Specialty Lines Ins. Co.,
2:2009-cv-08405-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-08405-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08405-KDE-ALC                        Starr Excess Liability Insurance Company, Ltd.,
2:2009-cv-08406-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-08407-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-08407-KDE-ALC                        Jayco, Inc.,
2:2009-cv-08419-KDE-ALC                        American International Group,
2:2009-cv-08419-KDE-ALC                        American International Specialty Lines,
2:2009-cv-08419-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-08419-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08420-KDE-ALC                        American International Group,
2:2009-cv-08420-KDE-ALC                        American International Specialty Lines,
2:2009-cv-08420-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2009-cv-08420-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08432-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-08433-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-08439-KDE-ALC                        Keystone RV Company,
2:2009-cv-08440-KDE-ALC                        Keystone RV Company,
2:2009-cv-08441-KDE-ALC                        Keystone RV Company,
2:2009-cv-08442-KDE-ALC                        Keystone RV Company,
2:2009-cv-08443-KDE-ALC                        Keystone RV Company,
2:2009-cv-08444-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-08444-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-08444-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08445-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-08445-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-08445-KDE-ALC                        Lexington Insurance Company,
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2:2009-cv-08446-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-08446-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-08446-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08447-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-08447-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-08447-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08448-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-08448-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-08448-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08449-KDE-ALC                        American International Specialty Lines Co.,
2:2009-cv-08449-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2009-cv-08449-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08450-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-08451-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-08452-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-08453-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-08454-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-08454-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-08454-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-08455-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-08455-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-08455-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-08456-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-08456-KDE-ALC                        Crum & Foster Specialty Insurance Company,
2:2009-cv-08456-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-08457-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-08457-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-08457-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-08458-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-08458-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-08458-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2009-cv-08459-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-08459-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08459-KDE-ALC                        Liberty Mutual Insurance Corporation,
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2:2009-cv-08459-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-08460-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-08460-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08460-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-08460-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-08461-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-08461-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08461-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-08461-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-08462-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-08462-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08462-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-08462-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-08463-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-08463-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08463-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-08463-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-08464-KDE-ALC                        Arch Specialty Insurance Company,
2:2009-cv-08464-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08464-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2009-cv-08464-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2009-cv-08465-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08466-KDE-ALC                        Gulfstream Coach, Inc.,
2:2009-cv-08474-KDE-ALC                        Gulfstream Coach, Inc.,
2:2009-cv-08484-KDE-ALC                        Skyline Corporation,
2:2009-cv-08485-KDE-ALC                        Skyline Corporation,
2:2009-cv-08486-KDE-ALC                        Skyline Corporation,
2:2009-cv-08496-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-08497-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-08498-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-08499-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-08500-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-08501-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08502-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
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2:2009-cv-08503-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08504-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08505-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08506-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08507-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08515-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08516-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08517-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08518-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08519-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08520-KDE-ALC                        Coachmen Industries, Inc.,
2:2009-cv-08532-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-08533-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-08538-KDE-ALC                        Timberland RV Company,
2:2009-cv-08539-KDE-ALC                        Timberland RV Company,
2:2009-cv-08540-KDE-ALC                        Timberland RV Company,
2:2009-cv-08541-KDE-ALC                        Timberland RV Company,
2:2009-cv-08547-KDE-ALC                        Crossroads RV, Inc.,
2:2009-cv-08548-KDE-ALC                        Crossroads RV, Inc.,
2:2009-cv-08549-KDE-ALC                        Crossroads RV, Inc.,
2:2009-cv-08550-KDE-ALC                        Crossroads RV, Inc.,
2:2009-cv-08551-KDE-ALC                        Crossroads RV, Inc.,
2:2009-cv-08556-KDE-ALC                        KZRV, LP,
2:2009-cv-08557-KDE-ALC                        KZRV, LP,
2:2009-cv-08558-KDE-ALC                        KZRV, LP,
2:2009-cv-08559-KDE-ALC                        Layton Homes Corporation,
2:2009-cv-08560-KDE-ALC                        Layton Homes Corporation,
2:2009-cv-08561-KDE-ALC                        Layton Homes Corporation,
2:2009-cv-08562-KDE-ALC                        Layton Homes Corporation,
2:2009-cv-08566-KDE-ALC                        Thor California, Inc.,
2:2009-cv-08567-KDE-ALC                        Thor California, Inc.,
2:2009-cv-08568-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-08569-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-08570-KDE-ALC                        Thor California, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 63 of 105


2:2009-cv-08572-KDE-ALC                        Dutchman Manufacturing, Inc.,
2:2009-cv-08573-KDE-ALC                        Dutchman Manufacturing, Inc.,
2:2009-cv-08574-KDE-ALC                        Dutchman Manufacturing, Inc.,
2:2009-cv-08575-KDE-ALC                        Dutchman Manufacturing, Inc.,
2:2009-cv-08576-KDE-ALC                        Dutchman Manufacturing, Inc.,
2:2009-cv-08577-KDE-ALC                        Dutchman Manufacturing, Inc.,
2:2009-cv-08580-KDE-ALC                        DS Corp.,
2:2009-cv-08581-KDE-ALC                        DS Corp.,
2:2009-cv-08582-KDE-ALC                        DS Corp.,

2:2009-cv-08588-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,

2:2009-cv-08589-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,

2:2009-cv-08590-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-08597-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-08598-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-08599-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-08600-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-08608-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-08610-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-08611-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-08612-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-08614-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-08615-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-08616-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-08617-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-08619-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-08623-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-08624-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-08625-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-08626-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-08627-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-08628-KDE-ALC                        Recreation By Design, LLC,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 64 of 105


2:2009-cv-08629-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-08632-KDE-ALC                        Forest River Inc,
2:2009-cv-08638-KDE-ALC                        KZRV, LP,
2:2009-cv-08639-KDE-ALC                        Timberland RV Company,
2:2009-cv-08640-KDE-ALC                        Jayco, Inc.,
2:2009-cv-08641-KDE-ALC                        Sunray RV, LLC,
2:2009-cv-08642-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2009-cv-08644-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08645-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08646-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08649-KDE-ALC                        Skyline Corporation,
2:2009-cv-08650-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-08657-KDE-ALC                        Crossroads RV, Inc.,
2:2009-cv-08658-KDE-ALC                        Frontier RV, Inc.,
2:2009-cv-08660-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2009-cv-08662-KDE-ALC                        Damon Motor Coach,
2:2009-cv-08665-KDE-ALC                        Gulfstream Coach, Inc.,
2:2009-cv-08666-KDE-ALC                        Coachman Industries Inc,
2:2009-cv-08666-KDE-ALC                        Coachman Recreactional Vehicle Company, LLC,
                                               Coachman Recreational Vehicles Company of Georgia,
2:2009-cv-08666-KDE-ALC                        LLC,
2:2009-cv-08667-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08668-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08673-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2009-cv-08676-KDE-ALC                        Four Winds International,
2:2009-cv-08681-KDE-ALC                        Thor California, Inc.,
2:2009-cv-08684-KDE-ALC                        TL Industries, Inc.,
2:2009-cv-08685-KDE-ALC                        Pilgrim International, Inc.,
2:2009-cv-08686-KDE-ALC                        Starcraft RV, Inc.,
2:2009-cv-08691-KDE-ALC                        R-Vision, Inc.,
2:2009-cv-08692-KDE-ALC                        Layton Homes Corp.,
2:2009-cv-08695-KDE-ALC                        Monaco Coach Corporation,
2:2009-cv-08696-KDE-ALC                        Keystone RV Company,
2:2009-cv-08697-KDE-ALC                        Hy-Line Enterprises, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 65 of 105


2:2009-cv-08698-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08699-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08700-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08701-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08702-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08703-KDE-ALC                        Gulf Stream Coach Inc,
2:2009-cv-08704-KDE-ALC                        Burlington Insurance Company,
2:2009-cv-08704-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2009-cv-08704-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2009-cv-08705-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-08706-KDE-ALC                        Keystone RV Company,
2:2009-cv-08707-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08708-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08711-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08712-KDE-ALC                        Keystone RV Company,
2:2009-cv-08713-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2009-cv-08714-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-08714-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-08714-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08715-KDE-ALC                        Dutchmen Manufacturing, Inc,
2:2009-cv-08716-KDE-ALC                        Skyline Corporation,
2:2009-cv-08720-KDE-ALC                        Sunray RV, LLC,
                                               American International Specialty Lines Insurance
2:2009-cv-08722-KDE-ALC                        Company,
2:2009-cv-08722-KDE-ALC                        Insurance Company of the State of PA,
2:2009-cv-08722-KDE-ALC                        Lexington Insurance Company,
2:2009-cv-08726-KDE-ALC                        Jayco Enterprises, Inc.,
2:2009-cv-08726-KDE-ALC                        Jayco, Inc.,
2:2009-cv-08729-KDE-ALC                        Thor California, Inc.,
2:2009-cv-08729-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-08730-KDE-ALC                        Thor California, Inc.,
2:2009-cv-08730-KDE-ALC                        Thor Industries, Inc.,
2:2009-cv-08731-KDE-ALC                        Timberland RV Company,
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2:2009-cv-08732-KDE-ALC                        Timberland RV Company,
2:2009-cv-08734-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-08734-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-08734-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08735-KDE-ALC                        Recreation By Design, LLC,
2:2009-cv-08736-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08737-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08746-KDE-ALC                        Forest River, Inc.,
2:2009-cv-08747-KDE-ALC                        Coachmen Industries, Inc.,

2:2009-cv-08747-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2009-cv-08747-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2009-cv-08748-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-00031-KDE-ALC                        Forest River, Inc.,
2:2010-cv-00032-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00033-KDE-ALC                        Keystone RV Company,
2:2010-cv-00149-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00163-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00164-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-00164-KDE-ALC                        Keystone RV Company,
2:2010-cv-00196-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00198-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00204-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00212-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00216-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00223-KDE-ALC                        R Vision Homes, LLC,
2:2010-cv-00225-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-00226-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-00227-KDE-ALC                        Forest River, Inc.,
2:2010-cv-00236-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00239-KDE-ALC                        Keystone RV Company,
2:2010-cv-00242-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00247-KDE-ALC                        Gulf Stream Coach, Inc.,
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2:2010-cv-00250-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00253-KDE-ALC                        Forest River, Inc.,
2:2010-cv-00254-KDE-ALC                        Thor California, Inc.,
2:2010-cv-00254-KDE-ALC                        Thor Industries, Inc.,
2:2010-cv-00256-KDE-ALC                        Skyline Corporation,
2:2010-cv-00259-KDE-ALC                        Timberland RV Company,
2:2010-cv-00262-KDE-ALC                        Vanguard Industries of Michigan,
2:2010-cv-00263-KDE-ALC                        Viking Recreational Vehicles, LLC,
2:2010-cv-00264-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-00265-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-00267-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-00268-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2010-cv-00269-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-00269-KDE-ALC                        Jayco, Inc.,
2:2010-cv-00273-KDE-ALC                        Sunray RV, LLC,
2:2010-cv-00275-KDE-ALC                        Skyline Corporation,
2:2010-cv-00276-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00277-KDE-ALC                        Forest River, Inc.,
2:2010-cv-00278-KDE-ALC                        Forest River, Inc.,
2:2010-cv-00415-KDE-ALC                        Forest River, Inc.,
2:2010-cv-00418-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-00419-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00420-KDE-ALC                        Timberland RV Company,
2:2010-cv-00423-KDE-ALC                        Forest River, Inc.,
2:2010-cv-00424-KDE-ALC                        Gulfstream Coach, Inc.,
2:2010-cv-00425-KDE-ALC                        Forest River, Inc.,
2:2010-cv-00426-KDE-ALC                        Timberland RV Company,
2:2010-cv-00428-KDE-ALC                        Gulf Stream Coach Inc,
2:2010-cv-00429-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-00429-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2010-cv-00437-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-00437-KDE-ALC                        Sentry Insurance, a Mutual Company,
2:2010-cv-00438-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-00438-KDE-ALC                        Lexington Insurance Company,
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2:2010-cv-00438-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-00438-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-00439-KDE-ALC                        DS Corp.,
2:2010-cv-00440-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-00442-KDE-ALC                        Keystone RV Company,
2:2010-cv-00443-KDE-ALC                        Keystone RV Company,
2:2010-cv-00446-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-00447-KDE-ALC                        Gulfstream Coach, Inc.,
2:2010-cv-00449-KDE-ALC                        Jayco, Inc.,
                                               American International Specialty Lines Insurance
2:2010-cv-00456-KDE-ALC                        Company,
2:2010-cv-00456-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-00456-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-00458-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-00458-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
                                               American International Specialty Lines Insurance
2:2010-cv-00461-KDE-ALC                        Company,
2:2010-cv-00461-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-00461-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-00464-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-00464-KDE-ALC                        Keystone RV Company,
2:2010-cv-00468-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00470-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-00472-KDE-ALC                        Thor California Inc,
2:2010-cv-00473-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-00476-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00477-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-00477-KDE-ALC                        Coachmen Recreational Vehicle Company,
2:2010-cv-00477-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-00480-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-00482-KDE-ALC                        Forest River, Inc.,
2:2010-cv-00483-KDE-ALC                        DS Corp.,
2:2010-cv-00484-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-00487-KDE-ALC                        Gulf Stream Coach, Inc.,
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2:2010-cv-00488-KDE-ALC                        R-Vision, Inc.,
2:2010-cv-00489-KDE-ALC                        Pilgrim International,
2:2010-cv-00490-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-00490-KDE-ALC                        Keystone RV Company,
2:2010-cv-00503-KDE-ALC                        KZRV, LP,
2:2010-cv-00506-KDE-ALC                        American International Group,
2:2010-cv-00506-KDE-ALC                        American International Specialty Lines,
2:2010-cv-00506-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-00506-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-00534-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00535-KDE-ALC                        Gulfstream Coach, Inc.,
2:2010-cv-00536-KDE-ALC                        American International Specialty Lines Co.,
2:2010-cv-00536-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2010-cv-00536-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-00537-KDE-ALC                        Coachman Industries Inc,
2:2010-cv-00539-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00545-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00546-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-00550-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00551-KDE-ALC                        Cruiser RV, LLC,
2:2010-cv-00559-KDE-ALC                        Forest River, Inc.,
2:2010-cv-00561-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00562-KDE-ALC                        Coachmen Industries, Inc.,

2:2010-cv-00562-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2010-cv-00562-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-00565-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00568-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-00568-KDE-ALC                        Jayco, Inc.,
                                               American International Specialty Lines Insurance
2:2010-cv-00570-KDE-ALC                        Company,
2:2010-cv-00570-KDE-ALC                        Insurance Company of the State of PA,
2:2010-cv-00570-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-00572-KDE-ALC                        Recreation By Design, LLC,
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2:2010-cv-00573-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-00574-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2010-cv-00578-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-00578-KDE-ALC                        Coachmen Motor Works of Georgia, LLC,
2:2010-cv-00578-KDE-ALC                        Coachmen Motor Works, LLC,
2:2010-cv-00579-KDE-ALC                        Forest River, Inc.,
2:2010-cv-00580-KDE-ALC                        Keystone RV Company,
2:2010-cv-00582-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-00583-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00584-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00707-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-00707-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-00707-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-00707-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-00709-KDE-ALC                        Forest River, Inc.,
2:2010-cv-00710-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-00711-KDE-ALC                        Layton Homes Corp,
2:2010-cv-00736-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-00736-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-00736-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-00740-KDE-ALC                        Forest River, Inc.,
2:2010-cv-00742-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00750-KDE-ALC                        Arch Specialty Insurance Corp.,
2:2010-cv-00750-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-00750-KDE-ALC                        Liberty Mutual Insurance Company,
2:2010-cv-00750-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-00761-KDE-ALC                        Timberland RV Company,
2:2010-cv-00764-KDE-ALC                        KZRV, LP,
2:2010-cv-00766-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-00767-KDE-ALC                        Timberland RV Company,
2:2010-cv-00907-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-00907-KDE-ALC                        Keystone RV Company,
2:2010-cv-00908-KDE-ALC                        Dutchmen Manufacturing, Inc,
2:2010-cv-00909-KDE-ALC                        Thor California, Inc.,
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2:2010-cv-00911-KDE-ALC                        Dutchman Manufacturing, Inc.,
2:2010-cv-00913-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00914-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00916-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-00917-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-00917-KDE-ALC                        Coachmen Motor Works of Georgia, LLC,
2:2010-cv-00917-KDE-ALC                        Coachmen Motor Works, LLC,
2:2010-cv-00918-KDE-ALC                        KZRV, LP,
2:2010-cv-00920-KDE-ALC                        FRH, Inc.,
2:2010-cv-00922-KDE-ALC                        KZRV, LP,
2:2010-cv-00997-KDE-ALC                        American International Group,
2:2010-cv-00997-KDE-ALC                        American International Specialty Lines,
2:2010-cv-00997-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-00997-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-00998-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-00998-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-00998-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-01001-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-01038-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-01040-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-01040-KDE-ALC                        R-Vision, Inc.,
2:2010-cv-01041-KDE-ALC                        Coachmen Industries, Inc.,

2:2010-cv-01041-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2010-cv-01041-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-01041-KDE-ALC                        Cruiser RV, LLC,
2:2010-cv-01041-KDE-ALC                        DS Corporation,
2:2010-cv-01041-KDE-ALC                        DS Corporation,
2:2010-cv-01041-KDE-ALC                        Damon Corporation,
2:2010-cv-01041-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-01041-KDE-ALC                        Four Winds International Corporation,
2:2010-cv-01041-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-01041-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-01041-KDE-ALC                        Heartland Recreational Vehicles, LLC,
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2:2010-cv-01041-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2010-cv-01041-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-01041-KDE-ALC                        Jayco, Inc.,
2:2010-cv-01041-KDE-ALC                        KZRV, LP,
2:2010-cv-01041-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-01041-KDE-ALC                        Keystone RV Company, Inc.,
2:2010-cv-01041-KDE-ALC                        Komfort Corporation,
2:2010-cv-01041-KDE-ALC                        Layton Homes Corporation,
2:2010-cv-01041-KDE-ALC                        Play'Mor Trailers, Inc.,
2:2010-cv-01041-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-01041-KDE-ALC                        Skyline Corporation,
2:2010-cv-01041-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-01041-KDE-ALC                        Sunray RV, LLC,
2:2010-cv-01041-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-01041-KDE-ALC                        Thor California, Inc.,
2:2010-cv-01041-KDE-ALC                        Timberland RV Company,
2:2010-cv-01041-KDE-ALC                        Vanguard Industries of Michigan,
2:2010-cv-01041-KDE-ALC                        Viking Recreational Vehicles, LLC,
2:2010-cv-01042-KDE-ALC                        Forest River, Inc.,
2:2010-cv-01043-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-01252-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-01253-KDE-ALC                        Burlington Insurance Company,
2:2010-cv-01253-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-01253-KDE-ALC                        Pilgrim International, Inc.,
2:2010-cv-01253-KDE-ALC                        Sentry Insurance,
2:2010-cv-01257-KDE-ALC                        Layton Homes Corp.,
2:2010-cv-01258-KDE-ALC                        American International Specialty Lines,
2:2010-cv-01258-KDE-ALC                        Insurance Company of the State of PA,
2:2010-cv-01258-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-01258-KDE-ALC                        Monaco Coach Corporation,
2:2010-cv-01261-KDE-ALC                        Arch Speciality Insurance Company,
2:2010-cv-01261-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-01261-KDE-ALC                        Liberty Mutual Insurance Company,
2:2010-cv-01261-KDE-ALC                        R-Vision, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 73 of 105


2:2010-cv-01261-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-01263-KDE-ALC                        KZRV, LP,
2:2010-cv-01265-KDE-ALC                        Forest River, Inc.,
2:2010-cv-01266-KDE-ALC                        Keystone RV Company,
2:2010-cv-01268-KDE-ALC                        Keystone RV Company,
2:2010-cv-01269-KDE-ALC                        DS Corp.,
2:2010-cv-01270-KDE-ALC                        Dutchmen Manufacturing, Inc,
2:2010-cv-01272-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-01272-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-01275-KDE-ALC                        Keystone RV Company,
2:2010-cv-01277-KDE-ALC                        Jayco, Inc.,
2:2010-cv-01280-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-01281-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-01282-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-01284-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-01285-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2010-cv-01287-KDE-ALC                        Timberland RV Company,
2:2010-cv-01288-KDE-ALC                        Skyline Corporation,
2:2010-cv-01291-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-01294-KDE-ALC                        Thor California, Inc.,
2:2010-cv-01296-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2010-cv-01299-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2010-cv-01310-KDE-ALC                        Viking Recreational Vehicle Company, LLC,
2:2010-cv-01355-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-01356-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-01357-KDE-ALC                        DS Corp.,
2:2010-cv-01358-KDE-ALC                        Forest River, Inc.,
2:2010-cv-01359-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-01359-KDE-ALC                        Coachmen Recreational Vehicle Company,
2:2010-cv-01359-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-01360-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-01361-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-01363-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-01364-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 74 of 105


2:2010-cv-01365-KDE-ALC                        Keystone RV Company,
2:2010-cv-01366-KDE-ALC                        DS Corp.,
2:2010-cv-01367-KDE-ALC                        Jayco, Inc,
2:2010-cv-01368-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-01371-KDE-ALC                        Jayco, Inc,
2:2010-cv-01374-KDE-ALC                        Timberland RV Company,
2:2010-cv-01378-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-01380-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-01381-KDE-ALC                        Sunray RV, LLC,
2:2010-cv-01383-KDE-ALC                        DS Corp.,
2:2010-cv-01384-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-01386-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-01392-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2010-cv-01393-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-01394-KDE-ALC                        MVP RV, Inc,
2:2010-cv-01394-KDE-ALC                        MVP RV, Inc,
2:2010-cv-01394-KDE-ALC                        Thor Industries, Inc.,
2:2010-cv-01395-KDE-ALC                        Skyline Corporation,
2:2010-cv-01396-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-01397-KDE-ALC                        Keystone RV Company,
2:2010-cv-01398-KDE-ALC                        Jayco, Inc.,
2:2010-cv-01399-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-01400-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-01400-KDE-ALC                        Coachmen Motor Works of Georgia, LLC,
2:2010-cv-01400-KDE-ALC                        Coachmen Motor Works, LLC,
2:2010-cv-01402-KDE-ALC                        Forest River, Inc.,
2:2010-cv-01403-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-01403-KDE-ALC                        Coachmen Motor Works of Georgia, LLC,
2:2010-cv-01403-KDE-ALC                        Coachmen Motor Works, LLC,
2:2010-cv-01404-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-01405-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-01406-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-01409-KDE-ALC                        Forest River, Inc.,
2:2010-cv-01425-KDE-ALC                        Jayco Enterprises, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 75 of 105


2:2010-cv-01425-KDE-ALC                        Jayco, Inc.,
2:2010-cv-01684-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2010-cv-01685-KDE-ALC                        Forest River, Inc.,
2:2010-cv-01686-KDE-ALC                        Keystone RV Company,
2:2010-cv-01687-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2010-cv-02020-KDE-ALC                        American International Specialty Lines Co.,
2:2010-cv-02020-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-02020-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02021-KDE-ALC                        Skyline Corporation,
2:2010-cv-02023-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-02023-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02023-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-02023-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-02024-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-02025-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2010-cv-02027-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-02030-KDE-ALC                        Gulfstream Coach, Inc.,
2:2010-cv-02031-KDE-ALC                        Dutchman Manufacturing, Inc.,
2:2010-cv-02130-KDE-ALC                        KZRV, LP,
2:2010-cv-02132-KDE-ALC                        Forest River, Inc.,
2:2010-cv-02133-KDE-ALC                        R-Vision, Inc.,
2:2010-cv-02134-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-02134-KDE-ALC                        Keystone RV Company,
2:2010-cv-02141-KDE-ALC                        Skyline Corporation,
2:2010-cv-02144-KDE-ALC                        Pilgrim International, Inc.,
2:2010-cv-02148-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02158-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-02159-KDE-ALC                        Thor California, Inc.,
2:2010-cv-02159-KDE-ALC                        Thor Industries, Inc.,
2:2010-cv-02161-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-02161-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-02161-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-02165-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-02166-KDE-ALC                        Forest River, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 76 of 105


2:2010-cv-02171-KDE-ALC                        Monaco Coach Corporation,
2:2010-cv-02172-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-02172-KDE-ALC                        Keystone RV Company,
2:2010-cv-02175-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-02175-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-02179-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-02179-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-02180-KDE-ALC                        DS Corp.,
2:2010-cv-02182-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-02184-KDE-ALC                        Forest River, Inc.,
2:2010-cv-02185-KDE-ALC                        Thor California, Inc.,
2:2010-cv-02185-KDE-ALC                        Thor Industries, Inc.,
2:2010-cv-02186-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-02187-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-02189-KDE-ALC                        Burlington Insurance Company,
2:2010-cv-02189-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-02189-KDE-ALC                        Pilgrim International, Inc.,
2:2010-cv-02189-KDE-ALC                        Sentry Insurance,
2:2010-cv-02190-KDE-ALC                        Forest River, Inc.,
2:2010-cv-02193-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-02194-KDE-ALC                        Timberland RV Company,
2:2010-cv-02201-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-02201-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02201-KDE-ALC                        Liberty Mutual Insurance Company,
2:2010-cv-02201-KDE-ALC                        R-Vision, Inc.,
2:2010-cv-02201-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-02204-KDE-ALC                        American International Specialty Lines,
2:2010-cv-02204-KDE-ALC                        Insurance Company of the State of PA,
2:2010-cv-02204-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02204-KDE-ALC                        Monaco Coach Corporation,
2:2010-cv-02209-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2010-cv-02210-KDE-ALC                        Skyline Corporation,
2:2010-cv-02215-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-02218-KDE-ALC                        Coachmen Industries, Inc.,
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2:2010-cv-02219-KDE-ALC                        DS Corp.,
2:2010-cv-02221-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-02222-KDE-ALC                        SunRay Investments, LLC,
2:2010-cv-02228-KDE-ALC                        Jayco, Inc.,
2:2010-cv-02229-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02230-KDE-ALC                        Keystone RV Company,
2:2010-cv-02231-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02232-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02233-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02234-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02237-KDE-ALC                        KZRV, LP,
2:2010-cv-02239-KDE-ALC                        Keystone RV Company,
2:2010-cv-02243-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-02246-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02249-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02250-KDE-ALC                        KZRV LP,
2:2010-cv-02251-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-02255-KDE-ALC                        R-Vision, Inc.,
2:2010-cv-02261-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02265-KDE-ALC                        Monaco Coach Corporation,
2:2010-cv-02272-KDE-ALC                        SunRay Investments, LLC,
2:2010-cv-02275-KDE-ALC                        Thor California, Inc.,
2:2010-cv-02277-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-02289-KDE-ALC                        Timberland RV Company,
2:2010-cv-02297-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02298-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-02298-KDE-ALC                        Keystone RV Company,
2:2010-cv-02302-KDE-ALC                        American International Specialty Lines Ins. Co.,
2:2010-cv-02302-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-02302-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02302-KDE-ALC                        Starr Excess Liability Insurance Company, Ltd.,
2:2010-cv-02304-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2010-cv-02305-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-02307-KDE-ALC                        Arch Specialty Insurance Company,
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2:2010-cv-02307-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02307-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-02307-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-02308-KDE-ALC                        Skyline Corporation,
2:2010-cv-02314-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-02316-KDE-ALC                        Thor California, Inc.,
2:2010-cv-02317-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-02318-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-02318-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2010-cv-02322-KDE-ALC                        Timberland RV Company,
2:2010-cv-02324-KDE-ALC                        Forest River, Inc.,
2:2010-cv-02327-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02328-KDE-ALC                        DS Corp.,
2:2010-cv-02329-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-02329-KDE-ALC                        Coachmen Recreational Vehicle Co L L C,

2:2010-cv-02329-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2010-cv-02332-KDE-ALC                        KZRV, LP,
2:2010-cv-02333-KDE-ALC                        Keystone RV Company,
2:2010-cv-02334-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-02334-KDE-ALC                        Jayco, Inc,
2:2010-cv-02335-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02336-KDE-ALC                        Forest River, Inc.,
2:2010-cv-02337-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-02340-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2010-cv-02347-KDE-ALC                        Dutchmen Manufacturing, Inc,
2:2010-cv-02356-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02357-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02358-KDE-ALC                        DS Corp.,
2:2010-cv-02360-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-02362-KDE-ALC                        Forest River, Inc.,
2:2010-cv-02364-KDE-ALC                        Timberland RV Company,
2:2010-cv-02366-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-02368-KDE-ALC                        Coachmen Industries, Inc.,
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2:2010-cv-02368-KDE-ALC                        Coachmen Recreational Vehicle Company,
2:2010-cv-02368-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-02376-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02380-KDE-ALC                        Layton Homes Corporation,
2:2010-cv-02381-KDE-ALC                        DS Corp.,
2:2010-cv-02389-KDE-ALC                        Thor California, Inc.,
2:2010-cv-02390-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-02391-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-02391-KDE-ALC                        Coachmen Recreational Vehicle Company,

2:2010-cv-02391-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2010-cv-02392-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-02394-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-02395-KDE-ALC                        Gulf Stream Coach, Inc.,
                                               American International Speciality Lines Insurance
2:2010-cv-02396-KDE-ALC                        Company,
2:2010-cv-02396-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-02396-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02400-KDE-ALC                        Burlington Insurance Company,
2:2010-cv-02400-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-02400-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2010-cv-02401-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02402-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02404-KDE-ALC                        Forest River, Inc.,
2:2010-cv-02408-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02409-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-02409-KDE-ALC                        Coachmen Recreational Vehicle Company,

2:2010-cv-02409-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2010-cv-02411-KDE-ALC                        Forest River, Inc.,
2:2010-cv-02412-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-02415-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-02417-KDE-ALC                        Thor California, Inc.,
2:2010-cv-02417-KDE-ALC                        Thor Industries Inc,
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2:2010-cv-02420-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-02420-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02420-KDE-ALC                        Liberty Insurance Corporation,
2:2010-cv-02420-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-02422-KDE-ALC                        Recreation By Design, LLC,
                                               American International Speciality Lines Insurance
2:2010-cv-02424-KDE-ALC                        Company,
2:2010-cv-02424-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-02424-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02425-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-02425-KDE-ALC                        Jayco Inc.,
2:2010-cv-02426-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02427-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-02428-KDE-ALC                        Dutchmen Manufacturing Inc,
2:2010-cv-02429-KDE-ALC                        Dutchmen Manufacturing, Inc,
                                               American International Specialty Lines Insurance
2:2010-cv-02430-KDE-ALC                        Company,
2:2010-cv-02430-KDE-ALC                        Insurance Company of the State of PA,
2:2010-cv-02430-KDE-ALC                        Lexington Insurance Company,
                                               American International Specialty Lines Insurance
2:2010-cv-02431-KDE-ALC                        Company,
2:2010-cv-02431-KDE-ALC                        Insurance Company of the State of PA,
2:2010-cv-02431-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02433-KDE-ALC                        DS Corp.,
2:2010-cv-02434-KDE-ALC                        Keystone RV Company,
2:2010-cv-02439-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-02443-KDE-ALC                        Burlington Insurance Company,
2:2010-cv-02443-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-02443-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2010-cv-02444-KDE-ALC                        Thor California, Inc.,
2:2010-cv-02444-KDE-ALC                        Thor Industries Inc,
2:2010-cv-02447-KDE-ALC                        Coachmen Industries, Inc.,

2:2010-cv-02447-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 81 of 105


2:2010-cv-02447-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-02449-KDE-ALC                        Keystone RV Company,
2:2010-cv-02450-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-02460-KDE-ALC                        Forest River, Inc.,
2:2010-cv-02461-KDE-ALC                        Forest River Inc,
2:2010-cv-02465-KDE-ALC                        KZRV LP,
                                               American International Specialty Lines Insurance
2:2010-cv-02466-KDE-ALC                        Company,
2:2010-cv-02466-KDE-ALC                        Insurance Company of the State of PA,
2:2010-cv-02466-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02467-KDE-ALC                        Timberland RV Company,
2:2010-cv-02468-KDE-ALC                        Thor California, Inc.,
2:2010-cv-02468-KDE-ALC                        Thor Industries, Inc.,
2:2010-cv-02470-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02471-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02472-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02473-KDE-ALC                        Keystone RV Company,
2:2010-cv-02474-KDE-ALC                        Keystone RV Company,
2:2010-cv-02475-KDE-ALC                        American International Specialty Lines Co.,
2:2010-cv-02475-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-02475-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02476-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-02478-KDE-ALC                        KZRV LP,
2:2010-cv-02480-KDE-ALC                        Keystone RV Company,
2:2010-cv-02481-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-02484-KDE-ALC                        Dutchman Manufacturing, Inc.,
2:2010-cv-02485-KDE-ALC                        Recreation By Design L L C,
2:2010-cv-02486-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2010-cv-02487-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2010-cv-02489-KDE-ALC                        Thor California, Inc.,
2:2010-cv-02493-KDE-ALC                        Burlington Insurance Company,
2:2010-cv-02493-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-02493-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2010-cv-02496-KDE-ALC                        KZRV LP,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 82 of 105


2:2010-cv-02497-KDE-ALC                        American International Specialty Lines Co.,
2:2010-cv-02497-KDE-ALC                        Insurance Company of the State of PA,
2:2010-cv-02497-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02500-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-02501-KDE-ALC                        Timberland RV Company,
2:2010-cv-02508-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-02509-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-02513-KDE-ALC                        Dutchman Manufacturing, Inc.,
2:2010-cv-02514-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-02516-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-02518-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-02520-KDE-ALC                        Timberland RV Company,
2:2010-cv-02524-KDE-ALC                        Keystone RV Company,
2:2010-cv-02525-KDE-ALC                        Burlington Insurance Company,
2:2010-cv-02525-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-02525-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2010-cv-02526-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-02528-KDE-ALC                        Burlington Insurance Company,
2:2010-cv-02528-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-02528-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2010-cv-02529-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-02530-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-02531-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-02532-KDE-ALC                        American International Specialty Lines Co.,
2:2010-cv-02532-KDE-ALC                        Insurance Co. of the State of Pennsylvania,
2:2010-cv-02532-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02533-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-02534-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-02534-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02534-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-02534-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-02536-KDE-ALC                        Thor Industries, Inc.,
2:2010-cv-02537-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2010-cv-02544-KDE-ALC                        Gulfstream Coach, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 83 of 105


2:2010-cv-02545-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-02546-KDE-ALC                        Forest River, Inc.,
2:2010-cv-02549-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-02549-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02549-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-02549-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-02550-KDE-ALC                        Skyline Corporation,
2:2010-cv-02554-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-02554-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02554-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-02554-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-02556-KDE-ALC                        Skyline Corporation,
2:2010-cv-02561-KDE-ALC                        Keystone RV Company,
2:2010-cv-02570-KDE-ALC                        Gulfstream Coach, Inc.,
2:2010-cv-02572-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02577-KDE-ALC                        Gulfstream Coach, Inc.,
2:2010-cv-02588-KDE-ALC                        Keystone RV Company,
2:2010-cv-02590-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-02590-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02590-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-02590-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-02595-KDE-ALC                        Timberland RV Company,
2:2010-cv-02598-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-02599-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-02599-KDE-ALC                        Coachmen Motor Works of Georgia, LLC,
2:2010-cv-02599-KDE-ALC                        Coachmen Motor Works, LLC,
2:2010-cv-02601-KDE-ALC                        Skyline Corporation,
2:2010-cv-02610-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2010-cv-02616-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2010-cv-02684-KDE-ALC                        Gulfstream Coach, Inc.,
2:2010-cv-02685-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-02685-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-02685-KDE-ALC                        Liberty Insurance Corporation,
2:2010-cv-02685-KDE-ALC                        Westchester Surplus Lines Insurance Company,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 84 of 105


2:2010-cv-02686-KDE-ALC                        Gulfstream Coach, Inc.,
2:2010-cv-02692-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-02876-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-02876-KDE-ALC                        Forest River, Inc.,
2:2010-cv-02876-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02876-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-02885-KDE-ALC                        DS Corp.,
2:2010-cv-02887-KDE-ALC                        Gulfstream Coach, Inc.,
2:2010-cv-02892-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02892-KDE-ALC                        Monaco Coach Corporation,
2:2010-cv-02896-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-02899-KDE-ALC                        Dutchmen Manufacturing, Inc,
2:2010-cv-02900-KDE-ALC                        Forest River, Inc.,
2:2010-cv-02905-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-02906-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-02907-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-02907-KDE-ALC                        Keystone RV Company, Inc.,
2:2010-cv-02908-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-02908-KDE-ALC                        Coachmen Recreational Vehicle Co L L C,

2:2010-cv-02908-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2010-cv-02911-KDE-ALC                        Forest River, Inc.,
2:2010-cv-03004-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-03006-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2010-cv-03122-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03124-KDE-ALC                        Forest River, Inc.,
2:2010-cv-03129-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-03132-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-03134-KDE-ALC                        DS Corp.,
2:2010-cv-03135-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-03138-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03142-KDE-ALC                        KZRV, LP,
2:2010-cv-03142-KDE-ALC                        Keystone RV Company,
2:2010-cv-03144-KDE-ALC                        Gulf Stream Coach, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 85 of 105


2:2010-cv-03148-KDE-ALC                        Keystone RV Company,
2:2010-cv-03403-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2010-cv-03406-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-03408-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-03409-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-03410-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03412-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03413-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03415-KDE-ALC                        DS Corp.,
2:2010-cv-03418-KDE-ALC                        Timberland RV Company,
2:2010-cv-03420-KDE-ALC                        Skyline Corporation,
2:2010-cv-03423-KDE-ALC                        KZRV, LP,
2:2010-cv-03426-KDE-ALC                        Monaco Coach Corporation,
2:2010-cv-03428-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2010-cv-03429-KDE-ALC                        Pilgrim International, Inc.,
2:2010-cv-03430-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-03434-KDE-ALC                        R-Vision, Inc.,
2:2010-cv-03435-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-03436-KDE-ALC                        Forest River, Inc.,
2:2010-cv-03439-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-03443-KDE-ALC                        Sunray RV, LLC,
2:2010-cv-03464-KDE-ALC                        KZRV, LP,
2:2010-cv-03465-KDE-ALC                        KZRV, LP,
2:2010-cv-03469-KDE-ALC                        KZRV LP,
2:2010-cv-03472-KDE-ALC                        Thor California Inc,
2:2010-cv-03473-KDE-ALC                        Thor California Inc,
2:2010-cv-03474-KDE-ALC                        Thor California, Inc.,
2:2010-cv-03475-KDE-ALC                        Thor California, Inc.,
2:2010-cv-03476-KDE-ALC                        Thor California Inc,
2:2010-cv-03477-KDE-ALC                        Thor California, Inc.,
2:2010-cv-03478-KDE-ALC                        Thor California Inc,
2:2010-cv-03479-KDE-ALC                        Thor California Inc,
2:2010-cv-03480-KDE-ALC                        Thor California, Inc.,
2:2010-cv-03481-KDE-ALC                        Frontier RV, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 86 of 105


2:2010-cv-03482-KDE-ALC                        Thor California Inc,
2:2010-cv-03490-KDE-ALC                        Skyline Corporation,
2:2010-cv-03491-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-03491-KDE-ALC                        Jayco, Inc.,
2:2010-cv-03492-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-03493-KDE-ALC                        Skyline Corporation,
2:2010-cv-03494-KDE-ALC                        Skyline Corporation,
2:2010-cv-03497-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-03498-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-03502-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-03503-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-03504-KDE-ALC                        Crum & Forster Specialty Insurance,
2:2010-cv-03504-KDE-ALC                        Sentry Insurance,
2:2010-cv-03505-KDE-ALC                        Burlington Insurance Company,
2:2010-cv-03505-KDE-ALC                        Crum & Forster Specialty Insurance,
2:2010-cv-03505-KDE-ALC                        Sentry Insurance,
2:2010-cv-03506-KDE-ALC                        Crum & Forster Specialty Insurance,
2:2010-cv-03506-KDE-ALC                        Sentry Insurance,
2:2010-cv-03507-KDE-ALC                        Crum & Forster Specialty Insurance,
2:2010-cv-03507-KDE-ALC                        Sentry Insurance,
2:2010-cv-03508-KDE-ALC                        Burlington Insurance Company,
2:2010-cv-03508-KDE-ALC                        Crum & Forster Specialty Insurance,
2:2010-cv-03508-KDE-ALC                        Sentry Insurance,
2:2010-cv-03509-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03511-KDE-ALC                        Gulf Stream Coach Inc,
2:2010-cv-03512-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03513-KDE-ALC                        Skyline Corporation,
2:2010-cv-03514-KDE-ALC                        Skyline Corporation,
2:2010-cv-03517-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03520-KDE-ALC                        American International Group,
2:2010-cv-03520-KDE-ALC                        American International Specialty Lines Ins. Co.,
2:2010-cv-03520-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-03520-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03521-KDE-ALC                        American International Group,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 87 of 105


2:2010-cv-03521-KDE-ALC                        American International Specialty Lines Ins. Co.,
2:2010-cv-03521-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-03521-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03522-KDE-ALC                        American International Group,
2:2010-cv-03522-KDE-ALC                        American International Specialty Lines Ins. Co.,
2:2010-cv-03522-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-03522-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03523-KDE-ALC                        American International Group,
2:2010-cv-03523-KDE-ALC                        American International Specialty Lines Ins. Co.,
2:2010-cv-03523-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-03523-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03524-KDE-ALC                        American International Group,
2:2010-cv-03524-KDE-ALC                        American International Specialty Lines Ins. Co.,
2:2010-cv-03524-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-03524-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03525-KDE-ALC                        American International Group,
2:2010-cv-03525-KDE-ALC                        American International Specialty Lines Ins. Co.,
2:2010-cv-03525-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-03525-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03534-KDE-ALC                        American International Group,
2:2010-cv-03534-KDE-ALC                        American International Specialty Lines Ins. Co.,
2:2010-cv-03534-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-03534-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03535-KDE-ALC                        American International Group,
                                               American International Speciality Lines Insurance
2:2010-cv-03535-KDE-ALC                        Company,
2:2010-cv-03535-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-03535-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03536-KDE-ALC                        American International Group,
2:2010-cv-03536-KDE-ALC                        American International Specialty Lines Ins. Co.,
2:2010-cv-03536-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-03536-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03537-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03538-KDE-ALC                        Gulf Stream Coach, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 88 of 105


2:2010-cv-03544-KDE-ALC                        Gulf Stream Coach Inc,
2:2010-cv-03548-KDE-ALC                        Arch Specialty Insurance Corp.,
2:2010-cv-03548-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03548-KDE-ALC                        Liberty Insurance Corp.,
2:2010-cv-03548-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-03548-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-03549-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03550-KDE-ALC                        Gulf Stream Coach Inc,
2:2010-cv-03551-KDE-ALC                        Gulf Stream Coach Inc,
2:2010-cv-03552-KDE-ALC                        Gulf Stream Coach Inc,
2:2010-cv-03553-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03554-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03555-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03556-KDE-ALC                        Gulf Stream Coach Inc,
2:2010-cv-03557-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-03559-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-03562-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-03567-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-03567-KDE-ALC                        Jayco, Inc.,
2:2010-cv-03568-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-03568-KDE-ALC                        Jayco, Inc.,
2:2010-cv-03569-KDE-ALC                        Thor California, Inc.,
2:2010-cv-03571-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-03571-KDE-ALC                        Jayco, Inc.,
2:2010-cv-03572-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2010-cv-03573-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2010-cv-03576-KDE-ALC                        Timberland RV Company,
2:2010-cv-03577-KDE-ALC                        Timberland RV Company,
2:2010-cv-03582-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-03583-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-03584-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-03584-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03584-KDE-ALC                        Liberty Insurance Corporation,
2:2010-cv-03584-KDE-ALC                        Liberty Mutual Insurance Corporation,
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2:2010-cv-03584-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-03585-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-03585-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03585-KDE-ALC                        Liberty Mutual Insurance Company,
2:2010-cv-03585-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-03586-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-03586-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03586-KDE-ALC                        Liberty Insurance Corp.,
2:2010-cv-03586-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-03586-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-03597-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-03598-KDE-ALC                        Keystone RV Company,
2:2010-cv-03600-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03603-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2010-cv-03604-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-03606-KDE-ALC                        Keystone RV Company,
2:2010-cv-03608-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-03610-KDE-ALC                        Burlington Insurance Company,
2:2010-cv-03610-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-03610-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2010-cv-03612-KDE-ALC                        Burlington Insurance Company,
2:2010-cv-03612-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-03612-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2010-cv-03615-KDE-ALC                        Skyline Corporation,
2:2010-cv-03619-KDE-ALC                        Burlington Insurance Company,
2:2010-cv-03619-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-03619-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2010-cv-03620-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-03620-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03620-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-03620-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-03621-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03622-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-03624-KDE-ALC                        Forest River, Inc.,
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2:2010-cv-03630-KDE-ALC                        Keystone RV Company,
2:2010-cv-03635-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-03636-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03637-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-03639-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03640-KDE-ALC                        Forest River, Inc.,
2:2010-cv-03663-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03664-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03665-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03667-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03667-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-03667-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-03668-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03668-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-03668-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-03669-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-03670-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-03672-KDE-ALC                        Layton Homes Corp.,
2:2010-cv-03673-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-03673-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03673-KDE-ALC                        Liberty Insurance Corporation,
2:2010-cv-03673-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-03673-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-03674-KDE-ALC                        Forest River, Inc.,
2:2010-cv-03675-KDE-ALC                        Forest River, Inc.,
2:2010-cv-03676-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-03676-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03676-KDE-ALC                        Liberty Insurance Corporation,
2:2010-cv-03676-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-03676-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-03679-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03680-KDE-ALC                        Layton Homes Corp.,
2:2010-cv-03681-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03682-KDE-ALC                        Keystone Industries, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 91 of 105


2:2010-cv-03682-KDE-ALC                        Keystone RV Company,
2:2010-cv-03683-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03685-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-03685-KDE-ALC                        Keystone RV Company,
2:2010-cv-03686-KDE-ALC                        Layton Homes Corp.,
2:2010-cv-03687-KDE-ALC                        Forest River, Inc.,
2:2010-cv-03688-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-03688-KDE-ALC                        Keystone RV Company,
2:2010-cv-03692-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-03693-KDE-ALC                        Layton Homes Corp.,
2:2010-cv-03696-KDE-ALC                        Layton Homes Corp.,
2:2010-cv-03699-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-03699-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03699-KDE-ALC                        Liberty Mutual Insurance Company,
2:2010-cv-03699-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2010-cv-03701-KDE-ALC                        Frontier RV, Inc.,
2:2010-cv-03704-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03707-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03708-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03709-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03711-KDE-ALC                        Crum & Forster Specialty Insurance,
2:2010-cv-03711-KDE-ALC                        Sentry Insurance,
2:2010-cv-03714-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03715-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-03716-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-03725-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03733-KDE-ALC                        Forest River, Inc.,
2:2010-cv-03734-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03735-KDE-ALC                        Forest River, Inc.,
2:2010-cv-03737-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03741-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-03741-KDE-ALC                        Keystone RV Company,
2:2010-cv-03749-KDE-ALC                        Timberland RV Company,
2:2010-cv-03752-KDE-ALC                        Gulf Stream Coach, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 92 of 105


2:2010-cv-03754-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-03754-KDE-ALC                        Keystone RV Company,
2:2010-cv-03757-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03760-KDE-ALC                        Starcraft RV, Inc.,
2:2010-cv-03762-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03762-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-03762-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-03763-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03763-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-03763-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-03766-KDE-ALC                        Forest River, Inc.,
2:2010-cv-03767-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2010-cv-03769-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03769-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-03769-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-03775-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2010-cv-03777-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03780-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-03781-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03782-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03784-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-03795-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-03798-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-03800-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-03805-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03807-KDE-ALC                        Layton Homes Corp.,
2:2010-cv-03808-KDE-ALC                        Layton Homes Corp.,
2:2010-cv-03809-KDE-ALC                        Layton Homes Corp.,
2:2010-cv-03813-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03813-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-03813-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-03814-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03814-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-03814-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 93 of 105


2:2010-cv-03818-KDE-ALC                        Vanguard Industries of Michigan Inc,
2:2010-cv-03820-KDE-ALC                        Skyline Corporation,
2:2010-cv-03822-KDE-ALC                        Skyline Corporation,
2:2010-cv-03823-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03824-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03825-KDE-ALC                        Skyline Corporation,
2:2010-cv-03827-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03830-KDE-ALC                        Gulf Stream, Inc.,
2:2010-cv-03832-KDE-ALC                        Timberland RV Company,
2:2010-cv-03839-KDE-ALC                        American International Group,
2:2010-cv-03839-KDE-ALC                        American International Specialty Lines Ins. Co.,
2:2010-cv-03839-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-03839-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03845-KDE-ALC                        Gulf Stream Coach Inc,
2:2010-cv-03846-KDE-ALC                        Gulf Stream Coach Inc,
2:2010-cv-03847-KDE-ALC                        Forest River, Inc.,
2:2010-cv-03855-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-03855-KDE-ALC                        Jayco, Inc.,
2:2010-cv-03859-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-03859-KDE-ALC                        Jayco, Inc.,
                                               American International Specialty Lines Insurance
2:2010-cv-03866-KDE-ALC                        Company,
2:2010-cv-03866-KDE-ALC                        Insurance Company of the State of PA,
2:2010-cv-03866-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03899-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-03900-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03901-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03904-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-03905-KDE-ALC                        Burlington Insurance Company,
2:2010-cv-03905-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-03905-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2010-cv-03909-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-03909-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2010-cv-03913-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 94 of 105


2:2010-cv-03914-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-03917-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03918-KDE-ALC                        Dutchmen Manufacturing, Inc,
2:2010-cv-03919-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03920-KDE-ALC                        American International Specialty Lines Co.,
2:2010-cv-03920-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-03920-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03921-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-03921-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2010-cv-03923-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03924-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03926-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03926-KDE-ALC                        Coachmen Recreational Vehicle Company,

2:2010-cv-03926-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2010-cv-03927-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03928-KDE-ALC                        Forest River Inc,
2:2010-cv-03929-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2010-cv-03930-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03932-KDE-ALC                        Forest River Inc,
2:2010-cv-03933-KDE-ALC                        Vanguard Industries of Michigan Inc,
2:2010-cv-03934-KDE-ALC                        American International Specialty Lines Co.,
2:2010-cv-03934-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-03934-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03939-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03940-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03941-KDE-ALC                        DS Corp.,
2:2010-cv-03941-KDE-ALC                        DS Corp.,
2:2010-cv-03944-KDE-ALC                        Crum & Forster Specialty Insurance,
2:2010-cv-03944-KDE-ALC                        Sentry Insurance,
2:2010-cv-03945-KDE-ALC                        DS Corp.,
2:2010-cv-03945-KDE-ALC                        DS Corp.,
2:2010-cv-03947-KDE-ALC                        Crum & Forster Specialty Insurance,
2:2010-cv-03947-KDE-ALC                        Sentry Insurance,
                          Case 2:07-md-01873-KDE-MBN Document 25226-9 Filed 04/13/12 Page 95 of 105


2:2010-cv-03948-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03950-KDE-ALC                        Gulf Stream Coach Inc,
2:2010-cv-03952-KDE-ALC                        American International Group,
2:2010-cv-03952-KDE-ALC                        American International Specialty Lines Ins. Co.,
2:2010-cv-03952-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2010-cv-03952-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-03954-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2010-cv-03956-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03956-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-03956-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-03971-KDE-ALC                        TL Industries, Inc.,
2:2010-cv-03972-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03972-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-03972-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-03973-KDE-ALC                        Keystone RV Company,
2:2010-cv-03974-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03975-KDE-ALC                        Forest River, Inc.,
2:2010-cv-03976-KDE-ALC                        Skyline Corporation,
2:2010-cv-03977-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-03980-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-03981-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03981-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-03981-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-03983-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03983-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-03983-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-03984-KDE-ALC                        Coachmen Industries, Inc.,

2:2010-cv-03984-KDE-ALC                        Coachmen Recreation Vehicles Company of Georgia, LLC,
2:2010-cv-03984-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-03985-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-03985-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-03985-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-03986-KDE-ALC                        Coachmen Industries, Inc.,
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2:2010-cv-03986-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-03986-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-03987-KDE-ALC                        Gulf Stream Coach Inc,
2:2010-cv-03992-KDE-ALC                        Jayco Enterprises, Inc.,
2:2010-cv-03992-KDE-ALC                        Jayco, Inc,
2:2010-cv-03993-KDE-ALC                        DS Corp.,
2:2010-cv-03993-KDE-ALC                        DS Corp.,
2:2010-cv-04000-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-04000-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-04000-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2010-cv-04002-KDE-ALC                        Skyline Corporation,
2:2010-cv-04003-KDE-ALC                        Forest River, Inc.,
2:2010-cv-04005-KDE-ALC                        DS Corp.,
2:2010-cv-04005-KDE-ALC                        DS Corp.,
2:2010-cv-04022-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-04025-KDE-ALC                        Gulf Stream Coach Inc,
2:2010-cv-04027-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-04029-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-04056-KDE-ALC                        Gulfstream Coach, Inc.,
2:2010-cv-04057-KDE-ALC                        Gulfstream Coach Incorporated,
2:2010-cv-04058-KDE-ALC                        Gulfstream Coach, Inc.,
2:2010-cv-04059-KDE-ALC                        Forest River Inc,
2:2010-cv-04060-KDE-ALC                        DS Corp.,
2:2010-cv-04069-KDE-ALC                        Gulfstream Coach, Inc.,
2:2010-cv-04070-KDE-ALC                        Gulfstream Coach, Inc.,
2:2010-cv-04071-KDE-ALC                        Gulfstream Coach, Inc.,
2:2010-cv-04084-KDE-ALC                        Coachmen Industries, Inc.,
2:2010-cv-04085-KDE-ALC                        Forest River, Inc.,
2:2010-cv-04095-KDE-ALC                        Sunray RV, LLC,
2:2010-cv-04098-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-04099-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2010-cv-04099-KDE-ALC                        Sentry Insurance Agency, Inc.,
2:2010-cv-04103-KDE-ALC                        American International Specialty Lines Co.,
2:2010-cv-04103-KDE-ALC                        Insurance Company of the State of Pennsylvania,
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2:2010-cv-04103-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-04115-KDE-ALC                        Coachmen Industries, Inc.,

2:2010-cv-04115-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2010-cv-04115-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2010-cv-04116-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-04117-KDE-ALC                        Forest River, Inc.,
2:2010-cv-04118-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-04118-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-04119-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-04120-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-04125-KDE-ALC                        Keystone Industries, Inc.,
2:2010-cv-04126-KDE-ALC                        Forest River, Inc.,
2:2010-cv-04127-KDE-ALC                        Forest River, Inc.,
2:2010-cv-04130-KDE-ALC                        Vanguard Industries of Michigan,
2:2010-cv-04407-KDE-ALC                        KZRV LP,
2:2010-cv-04408-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2010-cv-04528-KDE-ALC                        Sunray RV, LLC,
2:2010-cv-04614-KDE-ALC                        Recreation By Design, LLC,
2:2010-cv-04664-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2010-cv-04665-KDE-ALC                        Keystone RV Company,
2:2010-cv-04666-KDE-ALC                        Arch Specialty Insurance Company,
2:2010-cv-04666-KDE-ALC                        Lexington Insurance Company,
2:2010-cv-04666-KDE-ALC                        Liberty Mutual Insurance Corporation,
2:2010-cv-04666-KDE-ALC                        R-Vision, Inc.,
2:2010-cv-04666-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2011-cv-00211-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2011-cv-00212-KDE-ALC                        Coachmen Industries, Inc.,
2:2011-cv-00212-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2011-cv-00212-KDE-ALC                        Coachmen Recreational Vehicles of Georgia, LLC,
2:2011-cv-00215-KDE-ALC                        Keystone RV Company,
2:2011-cv-00217-KDE-ALC                        Gulfstream Coach Incorporated,
2:2011-cv-00218-KDE-ALC                        Forest River, Inc.,
2:2011-cv-00220-KDE-ALC                        Starcraft RV, Inc.,
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2:2011-cv-00222-KDE-ALC                        Jayco Enterprises, Inc.,
2:2011-cv-00222-KDE-ALC                        Jayco, Inc.,
2:2011-cv-00297-KDE-ALC                        Keystone RV Company,
2:2011-cv-00298-KDE-ALC                        Keystone RV Company,
2:2011-cv-00299-KDE-ALC                        Coachmen Industries, Inc.,
2:2011-cv-00300-KDE-ALC                        Coachmen Industries, Inc.,
2:2011-cv-00301-KDE-ALC                        Forest River, Inc.,
2:2011-cv-00302-KDE-ALC                        Forest River, Inc.,
2:2011-cv-00303-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2011-cv-00304-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2011-cv-00305-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2011-cv-00306-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2011-cv-00307-KDE-ALC                        Coachmen Industries, Inc.,
2:2011-cv-00308-KDE-ALC                        Coachmen Industries, Inc.,
2:2011-cv-00309-KDE-ALC                        KZRV, LP,
2:2011-cv-00310-KDE-ALC                        KZRV, LP,
2:2011-cv-00311-KDE-ALC                        Forest River, Inc.,
2:2011-cv-00312-KDE-ALC                        Forest River, Inc.,
2:2011-cv-00316-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2011-cv-00317-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2011-cv-00318-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2011-cv-00319-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2011-cv-00320-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2011-cv-00321-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2011-cv-00340-KDE-ALC                        DS Corp.,
2:2011-cv-00341-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2011-cv-00342-KDE-ALC                        Recreation By Design, LLC,
2:2011-cv-00343-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2011-cv-00344-KDE-ALC                        KZRV, LP,
2:2011-cv-00345-KDE-ALC                        Play Mor Trailers, Inc.,
2:2011-cv-00346-KDE-ALC                        TL Industries, Inc.,
2:2011-cv-00367-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2011-cv-00368-KDE-ALC                        Jayco, Inc.,
2:2011-cv-00371-KDE-ALC                        Keystone RV Company,
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2:2011-cv-00373-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2011-cv-00409-KDE-ALC                        Frontier RV, Inc.,
2:2011-cv-00410-KDE-ALC                        Forest River, Inc.,
2:2011-cv-00411-KDE-ALC                        Jayco Enterprises, Inc.,
2:2011-cv-00411-KDE-ALC                        Jayco, Inc.,
2:2011-cv-00412-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2011-cv-00413-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2011-cv-00414-KDE-ALC                        KZRV, LP,
2:2011-cv-00416-KDE-ALC                        DS Corp.,
2:2011-cv-00420-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2011-cv-00421-KDE-ALC                        Recreation By Design, LLC,
2:2011-cv-00423-KDE-ALC                        Keystone RV Company,
2:2011-cv-00553-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2011-cv-00759-KDE-ALC                        Jayco Enterprises Inc,
2:2011-cv-00759-KDE-ALC                        Jayco, Inc,
2:2011-cv-00760-KDE-ALC                        Keystone Industries, Inc.,
2:2011-cv-00760-KDE-ALC                        Keystone RV Company,
2:2011-cv-00761-KDE-ALC                        Pilgrim International, Inc.,
2:2011-cv-00762-KDE-ALC                        Forest River, Inc.,
2:2011-cv-00763-KDE-ALC                        Forest River, Inc.,
2:2011-cv-00764-KDE-ALC                        Forest River, Inc.,
2:2011-cv-00765-KDE-ALC                        Frontier RV, Inc.,
2:2011-cv-00766-KDE-ALC                        Forest River, Inc.,
2:2011-cv-00767-KDE-ALC                        Forest River, Inc.,
2:2011-cv-00768-KDE-ALC                        Pilgrim International, Inc.,
2:2011-cv-00768-KDE-ALC                        Thor California, Inc.,
2:2011-cv-00768-KDE-ALC                        Thor Industries, Inc.,
2:2011-cv-00769-KDE-ALC                        Forest River, Inc.,
2:2011-cv-00831-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2011-cv-00832-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2011-cv-00832-KDE-ALC                        Pilgrim International, Inc.,
2:2011-cv-00835-KDE-ALC                        Keystone Industries, Inc.,
2:2011-cv-00835-KDE-ALC                        Keystone RV Company,
2:2011-cv-00836-KDE-ALC                        Forest River, Inc.,
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2:2011-cv-00836-KDE-ALC                        Pilgrim International, Inc.,
2:2011-cv-00837-KDE-ALC                        Pilgrim International, Inc.,
2:2011-cv-00838-KDE-ALC                        Forest River, Inc.,
2:2011-cv-00841-KDE-ALC                        Coachmen Industries, Inc.,
2:2011-cv-00841-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia,
2:2011-cv-00841-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2011-cv-00842-KDE-ALC                        Monaco Coach Corporation,
2:2011-cv-00843-KDE-ALC                        Pilgrim International, Inc.,
2:2011-cv-00845-KDE-ALC                        Jayco Enterprises, Inc.,
2:2011-cv-00845-KDE-ALC                        Jayco, Inc.,
2:2011-cv-00846-KDE-ALC                        Thor California, Inc.,
2:2011-cv-00846-KDE-ALC                        Thor Industries, Inc.,
2:2011-cv-00847-KDE-ALC                        Coachmen Industries, Inc.,

2:2011-cv-00847-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2011-cv-00847-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2011-cv-00848-KDE-ALC                        Keystone Industries, Inc.,
2:2011-cv-00848-KDE-ALC                        Keystone RV Company,
2:2011-cv-00850-KDE-ALC                        Forest River, Inc.,
2:2011-cv-00851-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2011-cv-01037-KDE-ALC                        Pilgrim International, Inc.,
2:2011-cv-01042-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2011-cv-01043-KDE-ALC                        DS Corp.,
2:2011-cv-01044-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2011-cv-01045-KDE-ALC                        Coachmen Industries, Inc.,

2:2011-cv-01045-KDE-ALC                        Coachmen Recreational Vehicle Company of Georgia, LLC,
2:2011-cv-01045-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2011-cv-01046-KDE-ALC                        R-Vision, Inc.,
2:2011-cv-01047-KDE-ALC                        Skyline Corporation,
2:2011-cv-01832-KDE-ALC                        Pilgrim International, Inc.,
2:2011-cv-01964-KDE-ALC                        Jayco Enterprises Inc,
2:2011-cv-01964-KDE-ALC                        Jayco, Inc.,
2:2011-cv-01965-KDE-ALC                        Forest River, Inc.,
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2:2011-cv-01966-KDE-ALC                        Pilgrim International, Inc.,
2:2011-cv-01967-KDE-ALC                        Keystone Industries, Inc.,
2:2011-cv-01967-KDE-ALC                        Keystone RV Company,
2:2011-cv-01968-KDE-ALC                        Layton Homes Corp,
2:2011-cv-01969-KDE-ALC                        Thor California, Inc.,
2:2011-cv-01969-KDE-ALC                        Thor Industries, Inc.,
2:2011-cv-01970-KDE-ALC                        Jayco, Inc.,
2:2011-cv-01972-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2011-cv-01974-KDE-ALC                        KZRV, LP,
2:2011-cv-01975-KDE-ALC                        Keystone Industries, Inc.,
2:2011-cv-01975-KDE-ALC                        Keystone RV Company,
2:2011-cv-01976-KDE-ALC                        Keystone Industries, Inc.,
2:2011-cv-01976-KDE-ALC                        Keystone RV Company,
2:2011-cv-01977-KDE-ALC                        Keystone Industries, Inc.,
2:2011-cv-01977-KDE-ALC                        Keystone RV Company,
2:2011-cv-01978-KDE-ALC                        KZRV, LP,
2:2011-cv-01979-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2011-cv-01979-KDE-ALC                        Pilgrim International, Inc.,
2:2011-cv-02177-KDE-ALC                        SunRay Investments, LLC,
2:2011-cv-02177-KDE-ALC                        Sunray RV, LLC,
2:2011-cv-03095-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2011-cv-03096-KDE-ALC                        Keystone RV Company,
2:2011-cv-03097-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2011-cv-03098-KDE-ALC                        KZRV, LP,
2:2012-cv-00053-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2012-cv-00054-KDE-ALC                        Frontier RV, Inc.,
2:2012-cv-00055-KDE-ALC                        TL Industries, Inc.,
2:2012-cv-00056-KDE-ALC                        Frontier RV, Inc.,
2:2012-cv-00108-KDE-ALC                        Gulfstream Coach, Inc.,
2:2012-cv-00109-KDE-ALC                        Recreation By Design, LLC,
2:2012-cv-00110-KDE-ALC                        DS Corp.,
2:2012-cv-00111-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2012-cv-00112-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-00113-KDE-ALC                        Heartland Recreational Vehicles, LLC,
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2:2012-cv-00114-KDE-ALC                        Keystone RV Company,
2:2012-cv-00115-KDE-ALC                        Burlington Insurance Company,
2:2012-cv-00115-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2012-cv-00115-KDE-ALC                        Sentry Insurance, a Mutual Company,
2:2012-cv-00117-KDE-ALC                        Thor California, Inc.,
2:2012-cv-00118-KDE-ALC                        Frontier RV, Inc.,
2:2012-cv-00119-KDE-ALC                        Thor California, Inc.,
2:2012-cv-00120-KDE-ALC                        KZRV, LP,
2:2012-cv-00121-KDE-ALC                        KZRV, LP,
2:2012-cv-00122-KDE-ALC                        TL Industries, Inc.,
2:2012-cv-00123-KDE-ALC                        Burlington Insurance Company,
2:2012-cv-00123-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2012-cv-00123-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2012-cv-00124-KDE-ALC                        TL Industries, Inc.,
2:2012-cv-00125-KDE-ALC                        Frontier RV, Inc.,
2:2012-cv-00126-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2012-cv-00127-KDE-ALC                        Recreation By Design, LLC,
2:2012-cv-00128-KDE-ALC                        Crossroads RV, Inc.,
2:2012-cv-00130-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-00131-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-00132-KDE-ALC                        Recreation By Design, LLC,
2:2012-cv-00133-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-00149-KDE-ALC                        KZRV, LP,
2:2012-cv-00151-KDE-ALC                        Layton Homes Corporation,
2:2012-cv-00151-KDE-ALC                        Skyline Corporation,
2:2012-cv-00152-KDE-ALC                        Arch Specialty Insurance Company,
2:2012-cv-00152-KDE-ALC                        Lexington Insurance Company,
2:2012-cv-00152-KDE-ALC                        Liberty Insurance Corporation,
2:2012-cv-00152-KDE-ALC                        Westchester Surplus Lines Insurance Company,
2:2012-cv-00153-KDE-ALC                        Skyline Corporation,
2:2012-cv-00154-KDE-ALC                        Arch Specialty Insurance Company,
2:2012-cv-00154-KDE-ALC                        Lexington Insurance Company,
2:2012-cv-00154-KDE-ALC                        Liberty Insurance Corporation,
2:2012-cv-00154-KDE-ALC                        Westchester Surplus Lines Insurance Company,
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2:2012-cv-00155-KDE-ALC                        Layton Homes Corporation,
2:2012-cv-00157-KDE-ALC                        Skyline Corporation,
2:2012-cv-00158-KDE-ALC                        Heartland Recreational Vehicles, LLC,
2:2012-cv-00159-KDE-ALC                        Dutchmen Manufacturing, Inc.,
2:2012-cv-00160-KDE-ALC                        Crossroads RV, Inc.,
2:2012-cv-00161-KDE-ALC                        Thor California, Inc.,
2:2012-cv-00162-KDE-ALC                        Burlington Insurance Company,
2:2012-cv-00162-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2012-cv-00162-KDE-ALC                        Sentry Insurance a Mutual Company,
2:2012-cv-00181-KDE-ALC                        Jayco Enterprises, Inc.,
2:2012-cv-00183-KDE-ALC                        American International Specialty Lines,
2:2012-cv-00183-KDE-ALC                        Insurance Company of the State of PA,
2:2012-cv-00183-KDE-ALC                        Lexington Insurance Company,
2:2012-cv-00186-KDE-ALC                        Keystone Industries, Inc.,
2:2012-cv-00195-KDE-ALC                        Forest River, Inc.,
2:2012-cv-00196-KDE-ALC                        Coachmen Industries, Inc.,
2:2012-cv-00196-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2012-cv-00198-KDE-ALC                        Timberland RV Company,
2:2012-cv-00199-KDE-ALC                        Liberty Insurance Corporation,
2:2012-cv-00200-KDE-ALC                        Starcraft RV, Inc.,
2:2012-cv-00201-KDE-ALC                        Sunray RV, LLC,
2:2012-cv-00202-KDE-ALC                        Viking Recreational Vehicle Company, LLC,
2:2012-cv-00203-KDE-ALC                        Sunray RV, LLC,
2:2012-cv-00204-KDE-ALC                        Keystone Industries, Inc.,
2:2012-cv-00205-KDE-ALC                        Forest River, Inc.,
2:2012-cv-00206-KDE-ALC                        Jayco Enterprises, Inc.,
                                               American International Specialty Lines Insurance
2:2012-cv-00207-KDE-ALC                        Company,
2:2012-cv-00207-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2012-cv-00207-KDE-ALC                        Insurance Company of the State of Pennsylvania,
2:2012-cv-00207-KDE-ALC                        Lexington Insurance Company,
2:2012-cv-00208-KDE-ALC                        Hy-Line Enterprises, Inc.,
2:2012-cv-00209-KDE-ALC                        Timberland RV Company,
2:2012-cv-00211-KDE-ALC                        Starcraft RV, Inc.,
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2:2012-cv-00215-KDE-ALC                        Coachmen Industries, Inc.,
2:2012-cv-00215-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2012-cv-00216-KDE-ALC                        Sunray RV, LLC,
                                               American International Specialty Lines Insurance
2:2012-cv-00218-KDE-ALC                        Company,
2:2012-cv-00218-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2012-cv-00218-KDE-ALC                        Insurance Company of the State of PA,
2:2012-cv-00218-KDE-ALC                        Lexington Insurance Company,
2:2012-cv-00219-KDE-ALC                        Coachmen Industries, Inc.,
2:2012-cv-00219-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2012-cv-00223-KDE-ALC                        Timberland RV Company,
2:2012-cv-00224-KDE-ALC                        Starcraft RV, Inc.,
2:2012-cv-00226-KDE-ALC                        Coachmen Industries, Inc.,
2:2012-cv-00226-KDE-ALC                        Coachmen Recreational Vehicle Company, LLC,
2:2012-cv-00227-KDE-ALC                        Forest River, Inc.,
2:2012-cv-00228-KDE-ALC                        Forest River, Inc.,
2:2012-cv-00229-KDE-ALC                        Jayco Enterprises, Inc.,
2:2012-cv-00230-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-00231-KDE-ALC                        Gulf Stream Coach, Inc.,
                                               American International Specialty Lines Insurance
2:2012-cv-00254-KDE-ALC                        Company,
2:2012-cv-00254-KDE-ALC                        Crum & Forster Specialty Insurance Company,
2:2012-cv-00254-KDE-ALC                        Insurance Company of the State of PA,
2:2012-cv-00254-KDE-ALC                        Lexington Insurance Company,
2:2012-cv-00256-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-00548-KDE-ALC                        Gulf Stream Coach Inc,
2:2012-cv-01209-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-01210-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-01211-KDE-ALC                        Forest River, Inc.,
2:2012-cv-01212-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-01213-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2012-cv-01213-KDE-ALC                        Vanguard, LLC,
2:2012-cv-01214-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2012-cv-01214-KDE-ALC                        Vanguard, LLC,
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2:2012-cv-01215-KDE-ALC                        American International Specialty Lines,
2:2012-cv-01215-KDE-ALC                        Insurance Company of the State of PA,
2:2012-cv-01215-KDE-ALC                        Lexington Insurance Company,
2:2012-cv-01215-KDE-ALC                        Monaco Coach Corporation,
2:2012-cv-01216-KDE-ALC                        American International Specialty Lines,
2:2012-cv-01216-KDE-ALC                        Insurance Company of the State of PA,
2:2012-cv-01216-KDE-ALC                        Lexington Insurance Company,
2:2012-cv-01216-KDE-ALC                        Monaco Coach Corporation,
2:2012-cv-01218-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2012-cv-01218-KDE-ALC                        Vanguard, LLC,
2:2012-cv-01220-KDE-ALC                        Vanguard Industries of Michigan, Inc.,
2:2012-cv-01220-KDE-ALC                        Vanguard, LLC,
2:2012-cv-01221-KDE-ALC                        Forest River, Inc.,
2:2012-cv-01222-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-01223-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-01224-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-01225-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-01226-KDE-ALC                        Forest River, Inc.,
2:2012-cv-01227-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-01228-KDE-ALC                        Gulf Stream Coach Inc,
2:2012-cv-01229-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-01230-KDE-ALC                        American International Specialty Lines,
2:2012-cv-01230-KDE-ALC                        Insurance Company of the State of PA,
2:2012-cv-01230-KDE-ALC                        Lexington Insurance Company,
2:2012-cv-01230-KDE-ALC                        Monaco Coach Corporation,
2:2012-cv-01231-KDE-ALC                        Forest River, Inc.,
2:2012-cv-01240-KDE-ALC                        Gulf Stream Coach, Inc.,
2:2012-cv-01855-KDE-ALC                        Gulf Stream Coach, Inc.,
